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 1   PETER J. ELIASBERG (SBN 189110)
     Email: peliasberg@aclu-sc.org
 2   AHILAN T. ARULANANTHAM (SBN 237841)
     Email: aarulanantham@aclu-sc.org
 3   MICHAEL KAUFMAN (SBN 254575)
     Email: mkaufman@aclu-sc.org
 4   ACLU FOUNDATION OF SOUTHERN CALIFORNIA
     1616 Beverly Boulevard
 5   Los Angeles, California 90026
     Tel: (213) 977-5211
 6   Fax: (213) 977-5297
 7   Attorneys for Petitioner
     (Additional counsel listed on following page)
 8
 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11                                 WESTERN DIVISION
12
     ALEJANDRO RODRIGUEZ, et al.,           ) Case No. CV 07-3239-TJH (RNBx)
13                                          )
                  Petitioners,              ) DISCOVERY MATTER
14                                          )
            vs.                             )
15                                          ) JOINT STIPULATION REGARDING
     TIMOTHY S. ROBBINS, in his             ) PETITIONERS’ MOTION TO COMPEL
16   capacity as U.S. Immigration and       ) AND RESPONDENTS’ MOTION FOR
     Customs Enforcement, Los Angeles       )
17   District Field Office Director;        ) PROTECTIVE ORDER PURSUANT TO
     JANET NAPOLITANO, in her               ) LOCAL RULE 37-2.1
18   capacity as Secretary of Homeland      )
     Security; and ERIC H. HOLDER, JR., )
19   in his capacity as Attorney General of )
     the United States,                     )
20                                          )
                  Respondents.              )
21                                          )
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 1   Additional counsel:
 2   JUDY RABINOVITZ
     AMERICAN CIVIL LIBERTIES FOUNDATION
 3   IMMIGRANTS’ RIGHTS PROJECT
     125 Broad Street, 18th Floor
 4   New York, NY 10004
     Telephone: (212) 549-2618
 5   Facsimile: (212) 549-2654
 6   JAYASHRI SRIKANTIAH (SBN 189566)
     STANFORD LAW SCHOOL
 7   IMMIGRANTS’ RIGHTS CLINIC
     Crown Quadrangle
 8   559 Nathan Abbott Way
     Stanford, CA 94305-8610
 9   Telephone: (650) 724-2442
     Facsimile: (650) 723-4426
10
     SEAN COMMONS (SBN 217603)
11   CODY JACOBS (SBN 272276)
     SIDLEY AUSTIN LLP
12   555 West Fifth Street, Suite 4000
     Los Angeles, California 90013-1010
13   Telephone: (213) 896-6000
     Facsimile: (213) 896-6600
14
15
16
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 1             JOINT INTRODUCTORY STATEMENT AND OVERVIEW
 2          Pursuant to Local Rule 37-2 and this Court’s order of April 4, 2011 [Dkt # 164],
 3   Petitioner Alejandro Rodriguez, on behalf of himself and other members of the class
 4   (collectively, “Petitioners”), and Timothy S. Robbins, et al. (collectively,
 5   “Respondents” or “the Government”) submit this Joint Stipulation Regarding
 6   Respondents’ Motion for Protective Order and Petitioner’s Motion to Compel further
 7   Response to Petitioners’ Discovery Requests (“Motion To Compel”).
 8   I.     Nature of the Case and Procedural Background
 9          This case concerns a class of non-citizens who allege that they (a) have been
10   subjected to immigration detention in excess of six months by Immigration and
11   Customs Enforcement (“ICE”) while their removal proceedings remain pending and
12   (b) have not been afforded a constitutionally adequate hearing before an immigration
13   judge (“IJ”) where the Government has had to justify continued detention. See
14   Second Corrected Second Am. Comp. [Dkt. # 95-1, Sept. 10, 2010]. Petitioners
15   “challenge their prolonged detention without adequate process on statutory and
16   constitutional grounds, on behalf of themselves and a class of similarly-situated
17   detainees.” [Dkt # 111, Third Amended Complaint (“TAC”), ¶ 1.]. Petitioners claim
18   that under the Immigration and Nationality Act, 8 U.S.C. §§ 1101, et seq., and the
19   Due Process Clause of the Fifth Amendment, any alien who was or will be detained
20   for six months or longer in the Central District of California is entitled to a
21   constitutionally-adequate individualized hearing before an immigration judge to
22   justify their continued detention under any of four detention provisions under the INA,
23   specifically 8 U.S.C. §§ 1225(b), 1226(a), 1226(c), and 1231(a).
24          This lawsuit was initially filed on May 16, 2007. [Dkt # 1.] On June 25, 2007,
25   Petitioners filed a motion for class certification [Dkt # 10], which Respondents
26   opposed. [Dkt # 20.] On December 17, 2007, Respondents filed a motion to dismiss
27   on the ground that the action was moot, or otherwise barred as a class action. [Dkt #
28   26.] The Court denied both the motion for class certification and the motion to

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 1   dismiss on March 19, 2008. [Dkt # 33.] Petitioners appealed, and the Ninth Circuit
 2   concluded that this case could go forward on a class-wide basis. See Rodriguez, 591
 3   F.3d at 1114 (9th Cir. 2010).
 4          Following remand, this Court certified the class, and permitted limited
 5   discovery for the purpose of identifying sub-classes and sub-class representatives. See
 6   Class Certification Order [Dkt # 77]. Following a period of sub-class discovery,
 7   Petitioners moved to clarify the class-certification order, and certify the sub-classes.
 8   [Dkt # 101]. Respondents did not oppose this motion, and on March 8, 2011, the
 9   Court granted the motion. [Dkt # 161]. Accordingly, the class consists of “all people
10   within the Central District of California who (1) are or will be detained for longer than
11   six months pursuant to the general immigration detention statutes pending completion
12   of removal proceedings, including judicial review; (2) are not detained pursuant to one
13   of the national security detention statutes at 8 U.S.C. § 1226a and 8 U.S.C. §§ 1531-
14   37; and (3) have not been afforded a hearing to determine whether their prolonged
15   detention is justified.” See Plaintiff’s Motion for Class and Subclass Certification,
16   Memorandum in Support, and Proposed Order [Dkt # 101].1 The class members are
17   further subdivided into sub-classes of aliens detained by each of the four detention
18   statutes at issue in this case. Id.
19          On November 22, 2011, Respondents filed a Motion for Judgment on the
20   Pleadings under Fed. R. Civ. P. 12(c). [Dkt # 130]. The Rule 12(c) motion sought
21   judgment on the pleadings as to all claims. Id. The motion was opposed, and on
22
23
     1
        In its March 8, 2011 order, the Court granted Petitioner’s motion but did not
24
     specifically address the unopposed request to clarify the class definition to include
25   detainees who are or “will be” detained under one of the general detention statutes.
     See Dkt # 161. However, the parties are proceeding in this action with the
26
     understanding that the class certified by the Court is the clarified class definition
27   identified above and requested by Plaintiff in the unopposed motion for class and sub-
     class certification.
28
                                                 2
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 1   January 27, 2011, the Court denied the motion for judgment on the pleadings in its
 2   entirety. [Dkt # 155].
 3         Prior to the filing of the motion for judgment on the pleadings, however,
 4   Respondents moved to stay discovery pending resolution of the Rule 12(c) motion.
 5   [Dkt # 115]. This Court granted that motion on November 17, 2011. [Dkt # 126].
 6   Following the denial of Respondents’ Rule 12(c) motion, and in accordance with this
 7   Court’s November 17, 2011 order, counsel met and conferred extensively in order to
 8   narrow their discovery disputes. First, in correspondence dated February 14, 2011 and
 9   February 24, 2011, Petitioners focused the discussion on a limited subset of discovery
10   requests that were significantly narrower in number and scope than the discovery
11   initially served. Of the 48 requests for production, 34 interrogatories, and 34 requests
12   for admission served on the Department of Homeland Security (“DHS”) and the
13   Department of Justice (“DOJ”), Petitioners proposed meeting and conferring on eight
14   requests for production, three interrogatories and all of the requests for admission.
15         After extensive telephonic discussions during which the parties discussed this
16   limited subset of requests at some length, the parties agreed to meet in person, which
17   they did on February 28, 2011. During this five hour meeting, and in subsequent
18   correspondence and telephonic conversation, the parties were successful in reaching
19   agreement on a significant number of issues. Through these discussions, the parties
20   have agreed that the Respondents will produce a substantial amount of database
21   information about current and past class members, as well as the Respondents’
22   policies regarding bond hearings, initial decisions to detain, and supervised release;
23   and answers to several requests for admission. Throughout this period, the parties
24   have worked cooperatively to reach agreements to produce information that is
25   responsive to Petitioners’ requests for relevant information in a manner that is
26   technically feasible and not unduly burdensome for the Respondents.
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 1   II.     The Parties’ Stipulation as to Cost Discovery
 2           One of the disputes that the parties have resolved is a dispute over certain
 3   several requests regarding the costs of detention and the costs of providing bond
 4   hearings. Petitioners sought that information on the ground that the “costs” may be
 5   relevant to the due process analysis established in Mathews v. Eldridge, 424 U.S. 319
 6   (1976), which Petitioners contend may apply to this case. In Mathews, the Supreme
 7   Court set forth a balancing test for determining, in a case raising procedural due
 8   process challenges to administrative procedures, what administrative procedures are
 9   required when there has been a deprivation of liberty and due process is required.
10   Under the Mathews due process analysis, the Court considers, among other things, the
11   Government’s interest, including “the fiscal . . . burdens that the additional or
12   substitute procedural requirement would entail.” Id. at 335.
13           Petitioners propounded requests for documents and interrogatories identifying
14   detailed breakdowns of the costs of detaining aliens under the challenged immigration
15   detention statutes and detailed breakdowns of the costs of providing bond hearings
16   and other proceedings before immigration judges. Respondents objected that such
17   cost discovery was irrelevant in light of the fact that the Government did not intend to
18   raise the fiscal burdens as a defense to this action. During the parties’ negotiations,
19   Petitioners agreed not to compel responses to the requests pertaining to “costs” if
20   Respondents agreed not to pursue a general defense at any stage of this litigation,
21   including on appeal, as to the “fiscal burdens” of providing bond hearings.
22           To that end, the parties stipulate as follows:
23           1.    Respondents represent and the parties stipulate that, except as described
24   in paragraphs 3 and 4, they will not argue or otherwise pursue a general defense in this
25   litigation on the grounds that (1) that the cost of providing a bond hearing should be
26   considered in this case as a factor weighing in favor of Respondents, or (2) that the
27   cost of providing bond hearings to class members (were Petitioners granted the relief
28   they seek) would be greater than the cost of detaining class members. This stipulation
                                                4
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 1   in no way represents a factual assertion by Respondents as to any issue of fiscal
 2   burden associated with the relief sought by Petitioners, but instead is a stipulation not
 3   to pursue the general defenses described above for the purposes of this litigation only.
 4   Nothing in this stipulation shall be read to bind the Government in any litigation or
 5   action other than in this action.
 6          2.    Because Respondents have represented that they will not raise these
 7   arguments or defenses in this case (except as provided in paragraph 3 and 4),
 8   Petitioners represent and the parties stipulate that Petitioners will not seek an order
 9   compelling responses to any discovery requests related to costs, including the costs of
10   providing bond hearings.
11          3.    The parties stipulate that Respondents do not waive the right to argue or
12   otherwise pursue a general defense in this litigation on the grounds that the cost of
13   providing appointed counsel should be considered as a factor weighing in favor of
14   Respondents.
15          4.    The parties also stipulate that if, during the pendency of district court
16   proceedings, Respondents determine that they should raise arguments or defenses
17   described in paragraph 1, Respondents shall immediately notify Petitioners of that fact
18   in writing, and, if Petitioners request it, Respondents shall join a stipulation seeking an
19   extension of the discovery period or, if discovery has closed, to reopen discovery, in
20   order to permit Petitioners to seek or compel discovery as to any such defense.
21          5.    If Respondents do not raise any argument or defense referred to in
22   paragraph 1 before the district court, they agree not to raise any such argument or
23   defense on appeal.
24   III.   The Parties’ Discovery Dispute
25          Despite the parties’ significant progress in narrowing their disagreements,
26   several disputes remain outstanding. There are three principal areas of disagreement:
27          (1) Request for A-files (DHS Request for Production No. 1):
28
                                                 5
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 1            Petitioners have narrowed their request, but continue to seek the following
 2   information from the A-files of every class member currently detained, and every
 3   individual who would have fallen into the class during the period from April 21, 2010,
 4   forward: (a) any document sent, given or otherwise delivered by a Petitioner to the
 5   federal courts, DOJ or DHS (including ICE, Customs and Border Protection (“CBP”),
 6   and U.S. Citizenship and Immigration Services (“USCIS”)); (b) documents sent, given
 7   or otherwise delivered by those entities to a Petitioner; (c) post-order custody review
 8   (“POCR”) worksheets concerning anyone in the request universe; and (d) transcripts
 9   of any statements given by a detainee to DOJ or DHS officials, such as transcripts of
10   removal hearings or CBP interviews.
11            Respondents maintain their objections to Petitioner’s request for A-files for past
12   and current class members, including as to Petitioner’s proposal to limit production to
13   a narrowed time period and only to certain documents within the A-files.
14            (2) Request for certain written policies and procedures (DHS Request for
15   Production Nos. 3, 6; DOJ Request for Production No. 3):
16            Respondents have withdrawn objections with respect to the request for
17   information concerning bond hearings, initial decisions by ICE to detain, and
18   supervised release, but they maintain their objections to the extent the requests seek
19   policies related to hearings permitted under Matter of Joseph, 22 I. & N. Dec. 799,
20   1999 WL 339053 (BIA 1999); hearings ordered under Casas-Castrillon v. Dep’t of
21   Homeland Sec., 535 F.3d 942, 951 (9th Cir.2008); parole determinations under 8
22   U.S.C. § 1182(d)(5), and post-order custody reviews (“POCRs”) under 8 C.F.R. §
23   241.4.
24            (3) Requests for Admissions on Certain Topics (DHS Requests for Admission
25   Nos. 3, 4 - 15,18 - 21; DOJ Request for Admission Nos. 3, 4 – 11):
26            Respondents have maintained their objections to these RFAs. Respondents
27   have withdrawn in part their objections to DHS Request for Admission No. 3 and DOJ
28   Request for Admission No. 3.
                                                  6
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 1          The remainder of this Joint Stipulation is organized in two parts. In part I, each
 2   side sets forth its introductory statement, pursuant to Local Rule 37-2.1. In part II, the
 3   parties address the issues relating to the three areas of disagreement, setting forth their
 4   contentions concerning Respondents’ Motion for a Protective Order and Petitioners’
 5   Motion to Compel. Additionally, in part II, the parties set forth, in accordance with
 6   this Court’s April 4, 2011 order, their “propos[al] to resolve the dispute over that
 7   discovery request at the conference of counsel.” [Dkt # 164].
 8              THE INTRODUCTORY STATEMENTS OF THE PARTIES
 9   I.     Petitioner’s Introductory Statement
10          Petitioner seeks three limited categories of information in discovery, all of
11   which are highly relevant to their core claim that the government’s existing custody
12   review processes in class members’ cases do not satisfy the requirements of the Due
13   Process Clause. These categories are (1) a limited set of information from the “A
14   files” (DHS administrative files) for individuals who were or are members of the class
15   in the past year,2 (2) information relating to written policies and practices for DHS and
16   DOJ existing custody procedures applicable to class members, and (3) requests for
17   admission relating to those DHS and DOJ custody procedures. This discovery is well
18   within the boundaries of Rule 26, which permits discovery of “any nonprivileged
19   matter, that is relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1).
20          The information Petitioner seeks is based on the legal standard enunciated by
21   the Ninth Circuit and the Supreme Court. “[D]ue process requires ‘adequate
22   procedural protections’ to ensure that the government’s asserted justification for
23   physical confinement ‘outweighs the individual’s constitutionally protected interest in
24   avoiding physical restraint.’” Casas-Castrillon v. Dept. of Homeland Sec., 535 F.3d
25   942, 950 (9th Cir. 2008) (quoting Zadvydas v. Davis, 533 U.S. 678, 690 (2001)). To
26   2
       As explained infra, Petitioner has dramatically narrowed the information from A
27   files that he now seeks, and is prepared to further narrow his request upon receipt of
     certain information from Respondents.
28
                                                 7
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 1   analyze Petitioner’s claims under this standard, the Court must examine the
 2   Government’s justifications for “physical confinement” (here, preventing flight and
 3   danger to the community), and the “adequa[cy]” of the “procedural protections” that
 4   the Government currently provides to class members, to determine if their
 5   constitutionally protected liberty interest entitles them to greater procedures.
 6   Zadvydas, 533 U.S. at 691-92; Demore v. Kim, 538 U.S. 510, 529 (2003) (assessing
 7   the government’s interest by relying on aggregate data concerning individual cases).
 8         Each of the three categories of discovery that Petitioner now seeks is highly
 9   relevant under controlling due process precedent. For example, by aggregating
10   information in class members’ A files—such as records of the custody review
11   procedures, class members’ biographical information (including family ties, work
12   history and criminal history), and court documents revealing the strength of
13   Petitioners’ claims against removal (“merits claims”)--Petitioner can draw conclusions
14   as to whether the Respondents’ existing procedures accurately assess danger and flight
15   risk. These conclusions are central to Petitioner’s claim that the existing procedures
16   are constitutionally inadequate. This information will also allow Petitioners to
17   document the nature of DHS’s deprivation of his liberty. The A-files are the only
18   source from which Petitioner can gather much of this information critical to the due
19   process standard, because the government does not maintain this crucial information
20   in any other format or location.
21         Likewise, discovery about the government’s existing custody review processes
22   is also highly relevant to Petitioner’s contention that these procedures fail to satisfy
23   due process. Petitioner’s discovery requests seek information such as whether the
24   government has a policy notifying detainees of the existing procedures, and how
25   release decisions are made. The requested policies and practices are critical for
26   assessing the adequacy of the existing detention procedures. Finally, Petitioner’s
27   requests for admission seek information about existing custody determination
28   processes that is also clearly relevant to Petitioner’s core due process claim.
                                                  8
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 1         The government has not met its burden of showing why this limited set of
 2   critical information “should not be allowed,” much less “clarifying, explaining, and
 3   supporting its objections.” Sullivan v. Prudential Ins. Co. of America, 233 F.R.D.
 4   573, 575 (C.D. Cal. 2005). The government raises three arguments with respect to the
 5   A file discovery, none of which are persuasive. First, the government contends here
 6   that producing the A files is burdensome, even though it routinely produces A files in
 7   other contexts.3 Second, Respondents’ unsupported contention that relevant
 8   information cannot be extracted from class members’ A files is without merit. As set
 9   forth below, standard empirical methods would allow Petitioner to draw conclusions
10   about the quality of the existing procedures and the strength of class members’ liberty
11   interest from the documents that Petitioner seeks from the A files. See Exhibit 34
12   (Siulc Decl.) ¶¶ 4-8. Third, Respondents’ remaining objections to Petitioner’s request
13   for A files on relevance grounds reflect an attempt to re-litigate issues that
14   Respondents raised and lost in their Rule 12(c) motion before this Court. This Court
15   has already rejected, for instance, Respondents’ contentions that Section 1225(b) class
16   members lack due process rights, see Dkt. # 155 at 2, and that Demore v. Kim
17   authorizes mandatory detention of any length. Id. at 2-3.
18         With respect to Petitioner’s remaining document requests and requests for
19   admission, Respondents do not, and obviously could not, contend that these requests
20   are burdensome. Instead, they recycle their relevance arguments, which are even less
21   plausible in this context. The crux of Petitioner’s challenge is that the existing
22   detention procedures do not satisfy due process, and the core of Respondents’ defense
23   is that they do. Given that the custody review processes about which Petitioner seeks
24
     3
25     A subdivision of DHS, the National Records Center, produces 4,000 to 6,000 A files
     per month in individual immigration cases, in response to requests under the Freedom
26
     of Information Act. Petitioner’s narrowed request for approximately 350 - 1,000 A
27   files (based on Respondents’ estimate) thus amounts to what DHS ordinarily produces
     every few days.
28
                                                 9
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 1   discovery-- parole determinations, post-order custody reviews (POCRs), Casas
 2   hearings and Joseph hearings--are part of the Respondents’ existing processes for
 3   determining whether individuals should be detained or released, there can be no
 4   serious dispute that information about them is relevant. Indeed, their sufficiency is the
 5   central issue in this case.
 6   II.     Respondents’ Introductory Statement
 7           Respondents seek a protective order that the discovery still in dispute not be
 8   had. Federal Rule of Civil Procedure 26(c) authorizes the issuance of a protective
 9   order upon a showing of good cause. Fed. R. Civ. P. 26(c). Blankenship v. Hearst,
10   519 F.2d 418, 429 (9th Cir. 1975). Good cause exists for denying the discovery in
11   this case.
12           As detailed below, the issues before this Court are ones that Petitioners
13   characterized to the Ninth Circuit as “pure questions of law” that have “nothing to do
14   with the particular facts of any detainee’s case.” The Ninth Circuit agreed, certifying
15   the class on the basis that the case presented a common question of law that did not
16   turn on the individual circumstances of any individual class member. See Rodriguez
17   v. Hayes, 591 F.3d 1105, 1114 (9th Cir. 2010). Once the case was remanded,
18   Petitioners propounded six sets of discovery that seek individual facts concerning a
19   wide range of individual facts about each class member (and even about individuals
20   outside the class) for a period dating back several years. Among other things,
21   Petitioners sought the A-files of everyone who fits within the definition of the class
22   going back five years, and sought information through other requests that were vast in
23   scope. Respondents objected to it on several grounds. Although the parties have
24   compromised to resolve disputes over a large number of requests, Petitioners continue
25   to seek information that is irrelevant, overly burdensome, or both.
26           To resolve this dispute, the Court must understand Petitioners’ theory for the
27   requested discovery. At the outset, there is no dispute that in deciding this case the
28   Court must determine whether non-citizens are provided with adequate due process
                                             10
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 1   under the current detention procedures after examining the Government’s justification
 2   for detention and the liberty interests at stake. See Zadvydas v. Davis, 533 U.S. 678,
 3   690-691 (2001); Demore v. Kim, 538 U.S. 510, 526-31 (2003). However, Petitioners
 4   further argue that under Mathews v. Eldridge, 424 U.S. 319 (1976), the Court must
 5   weigh the “risk of erroneous deprivation” of personal liberty by examining, on an
 6   “aggregate” basis, certain facts of each individual class member’s circumstances.
 7   Specifically, Petitioners argue that the Court must test whether the existing procedures
 8   – ranging from parole determinations, bond hearings, Casas hearings, Joseph
 9   hearings, and POCRs – are “erroneous” because they result in the continued detention
10   of aliens who are not a flight risk or danger, or who have meritorious defenses to
11   removal, or other grounds. Petitioners take the position that the Court must examine
12   the facts in each individual class member’s case, somehow “aggregated” in a
13   statistically or otherwise significant manner, and determine whether the detention
14   procedures used result in incorrect determinations to continue detention.
15         Some of the problems with Petitioners’ arguments are best examined in the
16   context of the discovery requests in dispute. First, the A-file materials sought by
17   Petitioners are not relevant to this action, because Petitioners cannot show that the
18   information to be gleaned – the flight risk of an alien, an alien’s dangerousness to
19   society, the likelihood of their success in removal proceedings, etc. – which is varied
20   and fact-intensive, can be “aggregated” in any meaningful way. Moreover, with
21   respect to some classes of aliens, Petitioners’ Mathews approach is irrelevant. For
22   example, arriving aliens detained under section 1225(b) do not, as the Ninth Circuit
23   has repeatedly recognized, have a due process right to enter the United States, and the
24   parole of such aliens is entirely discretionary – legal realities that undercut any
25   claimed need to determine the “error” rate of discretionary parole. In the case of
26   aliens detained under section 1226(c), there is no administrative procedure to test in
27   terms of “error.” In any event, Petitioners can cite no case where the type of
28
                                                 11
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 1   information sought has been used to determine the “pure issue of law” this case is
 2   about.
 3            Additionally, complying with the request for A-file materials – which, even in
 4   its more narrowed scope, seeks a substantial amount, if not most, of the documents
 5   contained in the A-files of large universe of individuals – imposes an undue burden on
 6   the part of Respondents. Producing the documents requested from each file would
 7   require Respondents to first locate and obtain such files – any of which could by with
 8   USCIS, with ICE, with immigration courts or Government counsel – and then require
 9   an individual review of each file to pull responsive documents for production. We
10   know that at present the number of A-files that would need to be located, reviewed,
11   and copied for production is at least 350, and because the request seeks A-files going
12   back a year, that number is going to be larger.
13            Second, the requests for written policies and admissions about the
14   implementation of policies concerning Casas hearings, Joseph hearings, POCRs, and
15   parole determinations are also irrelevant. Petitioners’ case alleges that no matter how
16   conscientiously applied, no procedure is constitutionally sufficient to afford due
17   process, and that there can only be adequate due process if aliens detained for more
18   than six months are provided with bond hearings before immigration judges. The
19   application of those procedures is not being challenged, and any request seeking to
20   determine how imposed procedures are being implemented is irrelevant because those
21   procedures are alleged to be inadequate on their face. In this regard, none of the
22   remaining disputed requests are relevant, and Petitioners can cite no case to support
23   their need for information about the implementation of those procedures. The
24   requests are also irrelevant for other reasons, as discussed below.
25            Petitioners’ discovery requests are not relevant to this class action lawsuit
26   concerning a purely legal issue of statutory and constitutional interpretation. The
27   Court should enter a protective order to disallow the requested discovery.
28
                                                  12
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 1          PARTIES’ CONTENTIONS AS TO THE DISPUTED DISCOVERY
 2   I.     A-FILE MATERIALS
 3          A.    Text of the Disputed Discovery
 4
            DHS RPD No. 1:
 5          The “A” file of every Petitioner.
 6          B.    PARTIES’ PROPOSALS
 7
            Petitioner proposed narrowing the scope of DHS RFP No. 1 in several respects.
 8          First, Petitioners proposed that Respondents’ produce A file information for
 9          noncitizens detained six months or longer in the Central District from April 21,
            2011 on (rather than October 1, 2006), and who spent a substantial portion of
10          their time in the Central District. Petitioner further proposed that the
11          Respondents produce the following A file records (rather than the entire files):
            “any document sent, given or otherwise delivered by a Petitioner to the federal
12          courts, DOJ or DHS (including ICE, CBP and USCIS) and documents sent,
13          given or otherwise delivered by those entities to a Petitioner. In addition, we
            request POCR worksheets and the transcripts, if produced, of any statements
14          given by a detainee to DOJ or DHS officials, such as transcripts of removal
15          hearings or CBP interviews.”

16          In addition, in correspondence dated March 8, 2011, the Petitioner stated that
17          “[w]e are hopeful that after reviewing the database information that the
            Respondents have – largely – agreed to produce, Petitioners may be able to
18          significantly reduce the number of A-files we request. For this reason, we urge
19          the Respondents to promptly produce the database information so that we can
            evaluate the information and determine how, if at all, our request for A-files
20          could be further reduced.” In response, in correspondence dated March 17,
21          2011, Respondents indicated that “we remain open to reasonable proposals.”

22          Respondents have not submitted a proposal with respect to DHS RFP No. 1.
23          C.    PETITIONERS’ CONTENTIONS
24          As a threshold matter, the relevant legal standards strongly favor Petitioner with
25   respect to both assessing relevance and the burden of producing relevant information.
26   A party seeking to establish “good cause” for a protective order “carries a heavy
27   burden of making a ‘strong showing’ why discovery should be denied.” See Skellerup
28   Indus. Ltd. v. City of Los Angeles, 163 F.R.D. 598, 600 (C.D. Cal. 1995) (citing
                                                13
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 1   Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975)). “[F]or each
 2   particular document it seeks to protect,” the movant bears the burden “of showing that
 3   specific prejudice or harm will result if no protective order is granted.” See Foltz v.
 4   State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003).
 5         Courts “cannot accept at face value” sweeping assertions of undue burden.
 6   Green v. Baca, 219 F.R.D. 485, 492-493 (C.D. Cal. 2003) (rejecting government’s
 7   assertions that it would take in excess of 4,200 person hours to produce “back-up
 8   documentation” relating to unlawful prolonged detentions in jail facility). Even when
 9   a claim of burden is adequately made, courts must weigh the burden against the needs
10   of the case, the amount in controversy, the parties’ resources, the importance of the
11   issues at stake, and the importance of the proposed discovery. Id. at 493. Prolonged
12   detention cases raise “important constitutional issues” that favor discovery,
13   particularly given the resources available to the government. See id. (rejecting undue
14   burden argument in an individual action challenging detention practices).
15         Here, the A files Petitioner seeks contain highly relevant information that can
16   be aggregated to produce evidence relevant to both the adequacy of the existing
17   detention procedures and the liberty interests at stake for class members. Production
18   of the limited number of files Petitioner now seeks is not so burdensome as to justify a
19   protective order barring the discovery.
20                1.     A files contain information that is highly relevant to the due
21                       process standards that governs Petitioners’ claims
22         A files are administrative files maintained by DHS that contain all the
23   government’s records related to a noncitizen’s immigration case and detention. These
24   records include: applications and requests for release (e.g., briefs submitted for bond
25   hearings); records of custody determinations (e.g., post-order custody review
26   (“POCR”) worksheets, parole decisions, transcripts or bond memorandum from bond
27   hearings); and documents related to the noncitizen’s immigration case, including
28   applications for relief, petitions for adjustment and asylum applications, as well as
                                                  14
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 1   court-related documents (e.g., requests for continuances, transcripts of hearings and
 2   merits decisions). These documents often contain a variety of biographical
 3   information, including immigration status, family ties, residence history, work history,
 4   criminal history and other information.
 5           This information is indispensible in evaluating the accuracy of Respondents’
 6   existing custody review procedures and the nature of the deprivation of liberty that
 7   class members suffer – issues at the core of this case. Petitioner’s request for A file
 8   information thus comfortably falls within the scope of discovery permitted under Rule
 9   26.
10           With respect to the accuracy of the existing detention procedures, the records
11   related the class members’ custody determinations provide the only source of
12   information from which the Court can determine how the Respondents’ existing
13   custody review procedures work in practice. For example, with the A files, Petitioners
14   will be able to determine rates of release under the various custody review procedures
15   for the class. Additionally, the Petitioners will be able to present information that may
16   bear on the adequacy of specific procedures. For example, the Petitioners will be able
17   to determine how many POCR decisions are issued without any written explanation,
18   or how many people are found to lack community ties even though they have lived for
19   years in the same community.
20           The records will also allow the Court to determine the overall accuracy of the
21   existing procedures in determining whether an individual is in fact a flight risk or
22   danger.4 For example, a noncitizen with a strong claim for relief from removal is less
23
     4
       The Board of Immigration Appeals has provided some guidance for determining
24
     whether an individual is a danger or flight risk. In Matter of Guerra, the Board held
25   that the following factors are relevant in determining whether to release an individual
     on bond “(1) whether the alien has a fixed address in the United States; (2) the alien's
26
     length of residence in the United States; (3) the alien's family ties in the United States,
27   and whether they may entitle the alien to reside permanently in the United States in
     the future; (4) the alien's employment history; (5) the alien's record of appearance in
28                                                                                 (Footnote continued)
                                                 15
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 1   likely to be a flight risk. From reviewing an individual’s merits documents, a
 2   qualified immigration expert can determine with reasonable certainty whether an
 3   individual is clearly eligible for relief, arguably eligible for relief, or clearly not
 4   eligible. See Exhibit 35 (Tolchin Decl.) at ¶¶ 14-17. Additionally, an individual with
 5   strong community ties and work history is less likely to be a flight risk. It is entirely
 6   feasible for Petitioner to extract and tabulate such data relevant to flight risk and
 7   danger from the A files and determine the occurrence and occurrence of these factors
 8   within the class. See Siulc Decl. ¶¶ 4-8. By analyzing this aggregate data, Petitioner
 9   will then be able to draw statistically significant conclusions about whether the
10   Respondents’ existing procedures accurately determine which class members are in
11   fact flight risks or dangers to the community.
12          Likewise, information related to a noncitizen’s criminal history and other
13   biographical information will allow the Court to draw conclusions concerning how
14   well the Respondents’ existing procedures determine whether class members present a
15   danger to the community. The A files contain the only documents that describe class
16   members’ criminal histories, if any. By aggregating that data and comparing it to the
17   outcomes of Respondents’ existing custody procedures, the Petitioners will be able to
18   test whether those procedures lead to the detention of individuals who in fact do not
19   present a danger to the community.5
20   court; (6) the alien's criminal record, including the extensiveness of criminal activity,
21   the recency of such activity, and the seriousness of the offenses; (7) the alien's history
     of immigration violations; (8) any attempts by the alien to flee prosecution or
22   otherwise escape from authorities; and (9) the alien's manner of entry to the United
23   States.” 24 I. & N. Dec. 37, 40 (2006). While Petitioner does not believe that
     Guerra establishes a definitive list of relevant factors, the information it identifies as
24
     relevant is more than adequate to justify Petitioner’s request for A files.
     5
25     There are a variety of other ways in which A file information will allow the Court to
     evaluate the Respondents’ existing custody procedures. For example, Petitioners will
26
     be able to determine how many individuals who were denied bond are ultimately
27   granted cancellation of removal, which is – like bond – a discretionary determination
     that turns in part on the equities in the noncitizen’s case. While the two decisions are
28                                                                                    (Footnote continued)
                                                  16
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 1         This kind of data is directly relevant to Petitioners’ due process claim that
 2   existing custody review procedures raise serious constitutional problems since they
 3   result in the prolonged detention of individuals who pose no significant danger or
 4   flight risk. Indeed, both controlling Supreme Court and Ninth Circuit precedent look
 5   to such aggregate facts in assessing due process challenges. See, e.g., Demore v. Kim,
 6   538 U.S. 510, 529 (2003) (resolving question whether due process required bond
 7   hearings by relying on aggregate data concerning individual cases); Zadvydas, 533
 8   U.S. at 723-24 (Kennedy, J., dissenting) (citing statistics concerning the number of
 9   individuals released under existing procedures as relevant to the question whether
10   those procedures were adequate); Orantes-Hernandez v. Meese, 685 F.Supp. 1488,
11   1507-08 (C.D. Cal. 1988) (resolving procedural due process claim by reference to
12   facts about “a substantial number of class members”); Morales-Izquierdo v. Gonzalez,
13   486 F.3d 484, 496 (9th Cir. 2007) (en banc) (relying on data concerning the “error
14   rate” to assess sufficiency of additional process in removal proceedings); Humphries
15   v. County of Los Angeles, 554 F.3d 1170, 1200 (9th Cir. 2009) (utilizing error rate in
16   system similar to the one at issue in assessing due process claim); County of Riverside
17   v. McLaughlin, 500 U.S. 44, 55, 57 (1991) (in class action, relying on information
18   concerning causes for delays in arraignment and conclusion that “it takes 36 hours to
19   process arrested persons in Riverside County” in assessing constitutional
20   requirements); see also id. at 68 (Scalia, J., dissenting) (arguing in favor of a 24-hour
21   period to provide a probable cause hearing based on the “available data” and
22   observing that the Court had previously declined to decide the issue “since we had
23
     based on different criteria, it would bear on the quality of the existing detention
24
     procedures if, for example, a large percentage of individuals who were granted
25   cancellation were denied bond because they were determined to be dangers or flight
     risks. This is simply one example of many potentially relevant conclusions that
26
     Petitioners may be able to draw after analyzing A file information. Moreover, after
27   reviewing the A files, Petitioners may be able to develop a number of other ways to
     evaluate the Respondents’ procedures by observing patterns in the cases.
28
                                                17
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 1   before us little data to support any figure we might choose” and that the Court would
 2   still benefit from “even more information”); Schall v. Martin, 467 U.S. 253, 265, 271-
 3   72 (1984) (in habeas class action challenging juvenile pre-trial detention on due
 4   process grounds, considering aggregate data on juvenile crime rates in assessing
 5   government interest, factual testimony on the conditions of confinement in assessing
 6   individual’s interest, and aggregate data on the outcome of class members’ cases).
 7                2.    Respondents overstate the burden of producing A files.
 8         Respondents’ claims regarding burden are greatly overstated. At issue here are
 9   approximately 350-1,000 A files (based on Respondent’s estimate), which amounts to
10   what DHS routinely produces every few days in response to individual requests for A
11   files. A subdivision of DHS, the National Records Center, produces 4,000 to 6,000 A
12   files per month in 2005 in individual immigration cases in response to FOIA requests
13   from individual immigrants. See Recommendations from the CIS Ombudsman to the
14   Director USCIS (July 12, 2006), available at http://www.dhs.gov/xlibrary/assets/
15   CISOmbudsman _RR_30_FOIA_Processing_07-12-06.pdf. That number is almost
16   certainly larger today, given that the number of deportation cases has substantially
17   increased in the last few years. See http://trac.syr.edu/immigration/reports/246/. The
18   Respondents thus routinely “coordinat[e]” “four departments and agencies” to locate
19   A files on a daily basis and magnitude far larger than the number of A files at issue
20   here. See infra section I.D.4.
21         This is particularly true because there is nothing distinctive about Petitioner’s
22   discovery request that requires more or different review than the Respondents
23   ordinarily conduct under FOIA. A files produced in response to FOIA requests
24   undergo review for confidential and privileged information, similar to the process that
25   Respondents complain that they will be forced to do here. See Tolchin Decl. at ¶ 9.
26   The Respondents have not identified any source of privilege or confidentiality that
27   applies in the discovery context that is different from their ordinary FOIA review.
28   The Respondents claim that each A file will have to be reviewed by counsel for DHS
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 1   and DOJ, as well litigation counsel, but provide no explanation why they need to
 2   conduct such extensive and duplicative review. Thus the nature of Respondents’
 3   review of the A files at issue here should be no different from their regular and
 4   frequent review of such files in the FOIA context.
 5         Nor is there anything distinctive about the content of the A files requested here.
 6   The size of an A file can vary depending on nature of the individual’s claims, whether
 7   he or she is represented and the procedural history of the individual’s case. See
 8   Tolchin Decl. at ¶¶ 11-13. While all the individuals whose A files Petitioner has
 9   requested have been detained for more than six months, the vast majority of those
10   individuals are likely still litigating their cases before the immigration judge, meaning
11   that their A files will be relatively less voluminous. See Exhibit 36 (Tan Decl.) at ¶ 6
12   (explaining, based on data disclosed pursuant to Freedom of Information Act Request,
13   that 73% of class members detained on November 1, 2010 had removal cases pending
14   before the immigration judge). Additionally, Respondents have not claimed that the
15   rates of representation for the requested cases are significantly greater than in other
16   detained removal cases. Likewise, the Respondents have not identified anything
17   distinctive about the claims at issue in the requested A files that is significantly
18   different than in FOIA-requested A files. Because the burden of producing the A files
19   is no different than DHS’s existing system, which produces thousands of A files each
20   month, the Court should reject Respondents’ unfounded assertion of undue burden.67
21
     6
       Respondents’ burdensomeness objection also ignores that noncitizens across the
22   Ninth Circuit now have the right to access their A files, separate and apart from any
23   discovery request. See Dent v. Holder, 627 F. 3d 365 (9th Cir. 2010). Although the
     Court rejected Petitioner’s claim that Dent requires the production of the A files in
24
     this case, Respondents’ obligation to provide the Petitioners with their A files for
25   their individual immigration cases is relevant in assessing the burden to produce them
     here.
26   7
       Any concern about protecting class members’ privacy interests can be addressed by
27   protective order, given that class counsel are counsel for all members of the class and
     therefore barred by attorney-client privilege from revealing information concerning
28                                                                                  (Footnote continued)
                                                 19
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 1         The government’s additional assertion of burden based on resources required to
 2   remove and copy only the requested documents from each A file is is entirely a
 3   problem of the Respondents own making. Petitioners have repeatedly volunteered—
 4   and continue to volunteer-- to take on the burden of sorting through the A files for
 5   relevant documents if the Respondents produce them in their entirety. Petitioner only
 6   provided the Respondents with a limited and specified list of requested documents on
 7   the Respondents’ request. Respondents cannot now complain about a burden that they
 8   willingly assumed. Additionally, we observe that DHS routinely produces electronic
 9   copies of A files. See Tolchin decl. at ¶ 10. Thus, contrary to the Respondents’
10   assertion, the Respondents could easily comply with Petitioner’s request without
11   conducting any copying.
12         Respondents’ refusal to disclose any A file information is particularly
13   unwarranted given Petitioner’s significant narrowing of his request for A files during
14   the parties’ extensive discovery negotiations. Petitioner dramatically reduced the
15   temporal scope of the request (from four years’ worth of files to one) limited the set of
16   documents they seek from the files, and limited the geographic scope of their request
17   to those detainees who spent substantially all of their detention in the Central District.
18   Petitioner has also offered to reduce his request further depending on the total number
19   of A files at issue here. Petitioners remain willing to explore other compromises that
20   would enable the Petitioners to gather the critical information they need from A files
21   without unduly burdening the Respondents. For example, as Petitioners indicated in
22   their March 8, 2011 letter, they may be amenable to accepting a sample of A files,
23
     their cases absent their consent. See Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d
24
     470, 475 (9th Cir. 1992) (recognizing that “Ninth Circuit precedent strongly favors
25   disclosure to meet the needs of parties in pending litigation” and that any “legitimate
     interests in privacy can be protected” with a protective order); accord Foltz v. State
26
     Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1132 (9th Cir. 2003) (“reasonable
27   restrictions on collateral disclosure … protect an affected party's legitimate interests in
     privacy”).
28
                                                20
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 1   after reviewing the database information to determine whether and how it would be
 2   possible to draw a representative sample. Additionally, Petitioners would be willing
 3   to receive A files on a rolling basis to accommodate the Respondents, so long as the
 4   Respondents agree to complete production within a reasonable period. Cf. Green, 219
 5   F.R.D. at 492-93 (rejecting claim that production of files was unduly burdensome in
 6   prolonged detention challenge concerning jail). Despite all of these attempts at
 7   compromise, Respondents have continued to maintain their objection to producing
 8   any A file information.
 9         Under these circumstances, the Court should reject Respondents’ assertion of
10   burden regarding A file discovery.
11                3.       Respondents’ Relevancy Arguments About A File Discovery
12                         Are Without Merit.
13         Read generously, the Respondents’ relevancy arguments against production of
14   A file information fall into two categories. First, Respondents argue that the A file
15   information is not relevant because this case involves only legal issues, even though
16   the Ninth Circuit and Supreme Court have considered similar facts when deciding
17   similar detention cases. Respondents’ second contention--that Petitioner will not be
18   able to meaningfully aggregate or otherwise use the information in the A files—is
19   flatly wrong given the kind of information about danger and flight risk that exists in
20   the typical A file.
21                         a.   Controlling Precedent Has Considered Aggregate Facts
22                              Similar to Those at Issue Here.
23         As a threshold matter, Petitioner must correct Respondents’ mistaken argument
24   that the factual information in A files is irrelevant because this case involves a “facial”
25   challenge that raises only a “pure questions of law”, and because Petitioner seeks a
26   particular form of bond hearing at six months for all class members. These arguments
27   rest on a confused understanding of Petitioner’s due process claims and cannot serve
28   as a basis for refusing Petitioner’s requests for A files. First, the mere fact that
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 1   Petitioners’ challenge presents a “question of law” – i.e., whether the immigration
 2   statutes must be construed to require a bond hearing when detention is prolonged in
 3   order to avoid the serious constitutional problems that would otherwise be presented
     8
 4       – does not mean that aggregate facts about class members are irrelevant. As
 5   explained below, both controlling Supreme Court and Ninth Circuit precedent have
 6   looked to aggregate facts in assessing whether custody review procedures satisfy due
 7   process. See section I.C.3.b, infra.9
 8            Second, there is nothing inconsistent in Petitioner seeking uniform relief for the
 9   class – i.e., a constitutionally adequate bond hearing -- while also seeking discovery to
10   show that the existing procedures are deficient. As Petitioners have consistently
11   maintained, the determination of whether class members’ rights have been violated
12   will require the Court to consider whether the Respondents’ existing custody
13   procedures in fact are constitutionally sufficient. And consideration of aggregate facts
14
     8
15     Respondents imply that Petitioner has conceded that “there is ‘confusion concerning
     the nature of the pure question of law in this case.’” However, the government quotes
16   Petitioner out of context. In a letter regarding the meet and confer process, Petitioner
17   observed that Respondents were confused about “the nature of the pure question of
     law at issue in this case.” See Exh. 37 (Letter from Ahilan Arulanantham to Ted
18   Atkinson (August 31, 2010)). Respondents characterization of Petitioners’ challenge
19   as “facial” is also misleading. As noted above, Petitioners principle claim is that the
     statute does not authorize prolonged detention without a bond hearing, in light of the
20   serious constitutional problems that such an interpretation would raise as applied to
21   class members.
     9
       Moreover, Respondents have already attempted to dispose of this case based on their
22   position that it involves only pure questions of law through their Rule 12(c) motion
23   for judgment on the pleadings. They lost. The Court should not permit Respondents
     to stonewall discovery using the same arguments already rejected by this Court.
24
     Particularly given this holding the Respondents cannot refuse to respond to discovery
25   because it considers Petitioner’s legal theories meritless. “Defining the scope of
     discovery in this manner is improper, for it allows” a party to essentially “filter its
26
     documents through its own construction of” the case and thereby decide “an ultimate
27   issue” that should “be resolved by the court.” See Schauf v. Mortgage Bankers Serv.
     Corp., 2001 WL 1654711, at *2 (N.D. Ill. 2001).
28
                                                  22
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 1   from the A files of class members may also shape the relief that the Court ultimately
 2   orders. Review of the Respondents’ existing practices may reveal, for instance, that
 3   certain procedures that Petitioners seek are already provided or unnecessary to protect
 4   class members’ rights.
 5          The Supreme Court’s decision Demore v. Kim is instructive. See section I.C.1,
 6   supra. There, the Court considered a due process challenge to section 1226(c)’s
 7   authorization of detention without the opportunity for a bond hearing, the same basic
 8   constitutional question presented in this case. In Demore, the government argued –
 9   and the Court agreed – that aggregate data concerning individual cases and the
10   efficacy of alternative procedural safeguards are relevant factors in the due process
11   analysis.10
12          In concluding that bond hearings were not required, for example, the Demore
13   Court stressed the “brief” period of detention for most 1226(c) detainees, relying on
14   aggregate data provided by the government. 538 U.S. at 529 (EOIR “has calculated
15   that, in 85% of the cases in which aliens are detained pursuant to§ 1226(c), removal
16   proceedings are completed in an average time of 47 days and a median of 30 days”)
17   (quoting government brief). That data was central to the majority opinion’s ultimate
18   conclusion, as well as Justice Kennedy’s concurrence, that bond hearings were not
19   required for the “brief” period of detention at issue. See id.; id. at 532 (Kennedy, J.,
20
     10
21      Respondents argue that information on Joseph hearings is not relevant to the case
     because Joseph hearings determine only whether a detainee is subject to mandatory
22   detention, and not whether the detainee is a danger or flight risk. However, Joseph
23   hearings form a critical part of the existing procedure for determining whether or not
     class members remain detained. Both the majority opinion and Justice Kennedy’s
24
     concurrence in Demore concluded that Joseph hearings provide a procedural
25   safeguard against unlawful detention. Id. at 514 n.3, 523 n.6; id. at 531-32 (Kennedy,
     J. concurring). The Court specifically observed that because the petitioner did not
26
     seek a Joseph hearing, “we have no occasion to review the adequacy of Joseph
27   hearings generally in screening out those who are improperly detained.” Id. at 514
     n.3.
28
                                                23
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 1   concurring) (stating that individualized hearing may be required if there is an
 2   “unreasonable delay by the INS in pursuing and completing deportation
 3   proceedings”).
 4         The Court also relied on extensive findings and studies cited in the
 5   Congressional record in assessing the strength of the government’s interest. Id. at
 6   518-21. The Court further found that a study done by the Vera Institute of Justice on
 7   alternatives to detention had “limited” value due to methodological problems, but did
 8   not reject that the availability of alternatives is relevant to due process analysis. Id. at
 9   520 n. 5.
10         Respondents attempt to diminish the significance of Demore, suggesting that
11   the Court only relied on only one “extrinsic” fact (length of detention) introduced
12   outside of the Congressional record. However, that “one fact” included extensive
13   aggregate data compiled by the government, exactly the same sort of information
14   Petitioner seeks here through A file discovery. Further, Respondents ignore the other
15   factual information considered by the Demore Court – including the availability and
16   efficacy of alternative procedures – in analyzing the due process claim. It is
17   immaterial that this information was introduced at the Supreme Court, rather than
18   developed in discovery at the district court. The critical lesson from Demore is that
19   the information—however it was introduced to the Court—is highly relevant to the
20   due process inquiry.
21         The Respondents also ignore that the Ninth Circuit as well has repeatedly relied
22   on the individual facts of cases in resolving the due process claims of immigration
23   detainees, based on; information contained in the A files of the individual petitioners.
24   For example, in Casas-Castrillon v. DHS, 535 F.3d 942 (9th Cir. 2008), the Ninth
25   Circuit reviewed the facts in the administrative record—including the limited
26   procedural protections of paper custody reviews, the nature of prior bond hearings, the
27   length of detention, and the outcomes of removal proceedings—to determine “whether
28   Casas ha[d] been afforded an adequate opportunity to challenge the necessity of his
                                             24
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 1   detention.” Id. at 951; see also Prieto- Romero v. Clark, 534 F.3d 1053, 1065-67 (9th
 2   Cir. 2008) (reviewing record facts regarding three bond hearings and outcome of
 3   removal proceedings); Diouf v. Mukasey, 542 F.3d 1222 (9th Cir. 2008) (vacating and
 4   remanding to address the sufficiency of the post-order custody review process
 5   received by the detainee). The Ninth Circuit has clarified that the record of procedural
 6   review—the very information Petitioner seeks here from the A files—is necessary for
 7   “a determin[ation] whether the government has afforded . . . a [sufficient] bond
 8   hearing.” Id. at 952. It is difficult to understand how the government expects this
 9   Court to resolve the due process claims here without an examination of the accuracy
10   of “the procedural review” that class members have received, obtainable through
11   review of the A files of class members.
12          The Respondents wrongly assert that counsel for Petitioners has somehow taken
13   inconsistent positions by litigating individual detention cases without the benefit of
14   discovery, citing to Diouf v. Mukasey, No. 06-07452-TJH (C.D. Cal.).11 Respondents
15   ignore that counsel were aware of Mr. Diouf’s individual facts and were able to
16   present them to the Court because they had a copy of his A file and did not need to
17   seek that information through discovery. In its decision denying Mr. Diouf’s habeas
18   petition, and contrary to Respondents’ suggestion, Judge Hatter expressly relied on the
19   individual facts of Mr. Diouf’s case – that he had “received two post order custody
20   review considerations on July 29, 2005, and again on July 25, 2006” and his “criminal
21   history, lack of cooperation in past removal proceedings and likelihood of future
22   removal” – in finding that “the post order custody review procedures provided ample
23   procedural due process in these circumstances.” Diouf v Holder, No. CV 06-7452,
24
     11
25      The Ninth Circuit reversed Judge Hatter’s Diouf decision on the merits in Diouf v.
     Napolitano, No. 09-56774 (9th Cir. March 7, 2011) (holding that Mr. Diouf was
26
     entitled to a bond hearing under Section 1231(a)(6)). Because the government has
27   obtained an extension of time to seek rehearing in that case, the mandate has not
     issued.
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 1   2009 WL 6331130, at *2 (C.D. Cal. September 9, 2009) (emphasis added). Petitioner
 2   now seeks precisely the same type of information from class members’ A files that
 3   Judge Hatter relied on in deciding Mr. Diouf’s case.
 4         Respondents also misread the class certification opinion in this case, Rodriguez
 5   v. Hayes, 591 F.3d 1105, 1124 (9th Cir. 2009), to argue against discovery here.
 6   There, the Ninth Circuit was concerned only with class certification. Thus, in stating
 7   that “[t]he particular characteristics of the Petitioner or any individual detainee will
 8   not impact the resolution of this general statutory question…,” the Ninth Circuit was
 9   not suggesting that the parties were foreclosed from fact discovery. Id. at 1124.
10   Rather, the Ninth Circuit was simply reasoning that the unique facts of each class
11   member’s immigration case did not render the class unsuitable for certification.
12                       b.     Information in the A files Can Be Easily Aggregated and
13                              is Critically Relevant to Petitioner’s Arguments About
14                              the Sufficiency of Respondents’ Existing Procedures.
15         With respect to the practical claims, Respondents wrongly assert both that there
16   are no relevant documents in the A files and that even if there is relevant information,
17   it is impossible to aggregate that information in a meaningful way. Respondents’
18   contentions notwithstanding, ”legal briefs, supplemental authorities, declarations,
19   country reports,” “applications or petitions for immigration benefits with USCIS” and
20   “change of address forms, notices of legal representation, correspondence” are not
21   “inherently irrelevant” here. See infra section I.D.3. Quite to the contrary, documents
22   related to a noncitizen’s merits case can be critical in evaluating the strength of his
23   claim and therefore whether he presents a flight risk. Additionally, merits-related
24   documents also may contain a variety of biographical information that is central in
25   determining whether an individual is a flight risk or danger, as well as evaluating his
26   interest in avoiding detention (e.g., whether the individual has United States citizen
27   children or owns a small business).
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 1          Likewise, Respondents’ unsubstantiated assertion that A file information is
 2   incapable of aggregation is wrong. In fact, various studies have undertaken aggregate
 3   analyses of individual noncitizen case files to identify factors that are generally
 4   associated with flight risk and danger. For example, a study conducted by the Vera
 5   Institute of Justice in conjunction with its Appearance Assistance Program aggregated
 6   case-level data to conclude that asylum seekers subject to appropriate supervision are
 7   highly likely to appear for removal proceedings, and that several factors consistently
 8   increase the likelihood of appearance, such as having community and family ties in
 9   the United States, and being represented by counsel. See Vera Institute of Justice,
10   Testing Community Supervision for the INS: An Evaluation of the Appearance
11   Assistance Program, Vol. 1, at 7 (Aug. 1, 2000), available at
12   http://www.vera.org/content/testing-community-supervision-ins-evaluation-
13   appearance-assistance-program; see also id. at 21-24 & vol. II, App’x II (describing
14   statistical method for determining, based on aggregated case-level data, which factors
15   are associated with appearance in immigration court). Similarly, the Vera Institute’s
16   audit of the Executive Office for Immigration Review (EOIR) Legal Orientation
17   Program determined, based on aggregated case-level data, that individuals with
18   representation received in absentia orders at much lower rates than unrepresented
19   persons and that rates of removal in absentia were even lower for persons pursuing
20   certain types of relief from removal, such as asylum. Vera Institute of Justice, Testing
21   Community Supervision for the INS: An Evaluation of the Appearance Assistance
22   Program, Vol. 1, at 7 (Aug. 1, 2000), available at http://www.vera.org/content/testing-
23   community-supervision-ins-evaluation-appearance-assistance-program.
24          Similarly, here a variety of A file information can be extracted and tabulated for
25   the purpose of testing whether Respondents’ various custody review procedures
26   accurately identify individuals who pose a danger or risk of flight. See Siulc Dec. ¶¶
27   4-8.
28
                                                27
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 1          Respondents claim that the database information they have agreed to produce
 2   serves as a substitute for the information contained in A files, but this is incorrect.
 3   Government databases do not contain information about the strength of an
 4   individual’s merits claims, that actual content of the POCR worksheets, parole
 5   determination, and bond hearing transcripts, or a variety of biographical information,
 6   including criminal history, work history and community ties. The A files are the only
 7   readily available source for this critical information. See Siulc Dec. ¶ 7 (explaining
 8   that paper files and database information are likely not identical, and that information
 9   in A files may not be available in administrative databases because the database does
10   not record the information, or because the information is missing from the individual
11   database record).
12          Moreover, to the extent that there is duplicative information, review of the A
13   files will allow Petitioners and the Court to determine whether the government
14   database information is accurate. The databases maintained by the DHS have been
15   historically criticized for their inaccuracy and unreliability. DHS’s own Office of
16   Inspector General (“OIG”) repeatedly criticized the agency for failing to maintain data
17   in a consistent, timely, and reliable manner. The deficiencies identified by the OIG
18   have included, inter alia, information regarding detainee security classification,
19   appearance rates, releases due to the lack of detention resources, regarding length of
20   residence in the United States, complete criminal history, and basic demographic data
21   on the children of noncitizens in proceedings, as well as the creation of numerous
22   duplicate records for individual noncitizens.12 See Gibson v. County of Riverside, 181
23
     12
       See Department of Homeland Security, Office of Inspector General, Removal
24
     Involving Illegal Alien Parents of United States Citizen Children, OIG-09-15, at 3
25   (Jan. 2009), available at http://www.dhs.gov/xoig/assets/mgmtrpts/OIG_09-
     15_Jan09.pdf; Department of Homeland Security, Office of Inspector General,
26
     Detention and Removal of Illegal Aliens, OIG-06-33, at 19-20, OIG-09-15, at 6, 8-9,
27   10-11, 13 (Apr. 2006), available at http://www.dhs.gov/xoig/assets/mgmtrpts
     /OIG_06-33_Apr06.pdf.
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 1   F. Supp.2d 1057, 1066 (C.D. Cal. 2002) (noting that “for a summary of data to be
 2   admissible” the “underlying documents” must have been “made available to the
 3   opposing party for inspection prior to their introduction.’”) (quoting United States v.
 4   Miller, 771 F.2d 1219, 1238 (9th Cir. 1985)) (internal punctuation omitted).
 5         Thus, because information from A files can be meaningfully aggregated, and
 6   because such information is relevant to the legal standard set forth by the Ninth
 7   Circuit and Supreme Court, the Court should reject the Respondents’ contentions as to
 8   relevance.
 9                4.    Respondents’ specific doctrinal arguments regarding the
10                      subclasses are meritless
11         In addition to the general objections discussed above, Respondents also make
12   several doctrinal arguments specific to each of the subclasses. Again, these arguments
13   are largely attempts to relitigate arguments rejected in Respondents’ Rule 12(c)
14   motion, and they are meritless.
15                      a.     Section 1231(a)(6) detainee files
16         Respondents’ objections to the production of A files for the section 1231(a)(6)
17   subclass are simply recycled versions of their general objections. Respondents claim
18   that their application of the existing custody review procedures to section 1231(a)(6)
19   detainees is irrelevant to Petitioners’ “facial” challenge. However, as explained
20   above, this is not a facial challenge, the accuracy of class members’ custody
21   determinations is central to this case, and a review of class members’ A files is the
22   only way to assess their sufficiency. Respondents also again assert that there is some
23   inconsistency between the arguments here and those in Diouf v. Mukasey, but Judge
24   Hatter expressly relied on Mr. Diouf’s individual circumstances in determining that
25   the custody determinations he received satisfied minimum due process standards.
26                      b.     Section 1226(c) detainee files
27         Respondents’ arguments against disclosure of 1226(c) subclass A files center
28   on Demore v. Kim. Respondents’ central argument – that section 1226(c) class
                                            29
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 1   members have no claims on the merits – was rejected by Judge Hatter, and is contrary
 2   to a wealth of Ninth Circuit precedent. See Dkt. #155 at 2-3; see also Casas, 535 F.3d
 3   at 949-50. Although Judge Hatter did not determine the exact time period at which a
 4   hearing is required, he unambiguously rejected the Respondents’ argument that
 5   Demore authorizes prolonged detention of any length without a hearing.
 6         The Respondents also argue in passing that information on Joseph hearings is
 7   not relevant to the case because Joseph hearings determine only whether a detainee is
 8   subject to mandatory detention, and not whether the detainee is a danger or flight risk.
 9   However, Joseph hearings form a critical part of the existing procedure for
10   determining whether or not class members remain detained. Both the majority
11   opinion and Justice Kennedy’s concurrence in Demore concluded that Joseph hearings
12   provide a procedural safeguard against unlawful detention. Id. at 514 n.3, 523 n.6; id.
13   at 531-32 (Kennedy, J. concurring). The Court specifically observed that because the
14   petitioner did not seek a Joseph hearing, “we have no occasion to review the adequacy
15   of Joseph hearings generally in screening out those who are improperly detained.” Id.
16   at 514 n.3. Indeed, Respondents concede that these hearings are supposed to provide
17   “procedural safeguard[s]” at the “outset of detention[s].” See infra at section II.D.
18   Indeed, the government expressly relied on Joseph hearings as a procedural safeguard
19   that supports the constitutionality of mandatory detention under section 1226(c) in
20   Demore v. Kim. See 538 U.S. at 514; 514 n.3; 532 (Kennedy, J., concurring). As
21   Joseph hearings are part of the procedures that Respondents utilizes to determine
22   whether to subject an individual to prolonged detention, they are indisputably relevant
23   to Petitioners’ claims. Additionally, the documents filed for Joseph hearings will
24   contain information about the merits of the individual’s case. For the reasons
25   discussed above, merits documents are relevant to assessing flight risk and the
26   Petitioners’ liberty interests and therefore Petitioners are entitled to Joseph hearing
27   documents on this basis alone.
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 1                       c.    Section 1226(a) detainee files
 2         Respondents assert that because section 1226(a) subclass members are eligible
 3   for bond hearings, and consequently only challenge the adequacy of those hearings,
 4   there is no factual information in A files that bears on the section 1226(a) claims.
 5   Respondents are incorrect. The Court can only assess the sufficiency of the
 6   Respondents’ existing bond hearings by reviewing whether those bond hearings in
 7   fact lead to the prolonged detention of individuals who do not present a danger or
 8   flight risk. The A files of section 1226(a) subclass members contain information
 9   regarding their merits claims and biographical information, which are both critical in
10   determining whether an individual is a flight risk or danger. Additionally, the A files
11   may contain transcripts or bond memorandum that reflect the immigration judge’s
12   reasons for denying bond – information that bears on whether Respondents apply the
13   appropriate standards and burden of proof at bond hearings. Critically, the A files are
14   the only readily available source from which much of this information can be
15   gathered. Thus, without production of the A files, the Court will be deprived of
16   information that is central to evaluating Petitioners’ claims.
17         Likewise, the Respondents are incorrect in suggesting that Casas hearing
18   information is irrelevant. Respondents cite to dicta from Rodriguez, in which the
19   Ninth Circuit suggested that individuals who receive Casas hearings may no longer be
20   class members. Rodriguez merely states that “full compliance” with Casas “could
21   reduce the size of the class.” Rodriguez v. Hayes, 591 F.3d 1105, 1118 (9th Cir. 2010)
22   (emphasis added). But even assuming “full compliance” with Casas could decrease
23   the size of this class, Petitioners are entitled to determine whether Respondents in fact
24   conduct hearings consistent with Casas, even if only to determine whether Casas
25   hearings impact the size of the class.
26                       d.    Section 1225(b) detainee files
27         The Respondents’ primary argument against production of section 1225(b) –
28   that “arriving aliens” have no due process rights – was flatly rejected by Judge Hatter
                                               31
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 1   in his order denying the Respondents’ Rule 12(c) motion, and the Court should not
 2   permit the Respondents to relitigate the issue here. See Dkt. # 155. Because arriving
 3   non-citizens may raise procedural due process challenges to their detention, they can
 4   challenge the validity of the existing parole determination process, and therefore are
 5   entitled to discovery on that question.
 6         D.       RESPONDENTS’ CONTENTIONS
 7         Petitioners seek certain materials from the A-files of identified class members
 8   and others who, while not currently detained, would have fallen into the definition of
 9   the class for a period going back to April 21, 2010. An A-File is a record containing
10   documentation regarding an individual’s interaction with U.S. Citizenship and
11   Immigration Services (USCIS), Customs and Border Protection (CBP), ICE and the
12   Department of Justice as prescribed by the Immigration and Nationality Act (INA)
13   and other regulations regarding immigration benefits. Before discussing
14   Respondents’ objections on grounds of relevance and burden, an overview of this case
15   is required.
16                  1.   Overview
17         This class action presents purely legal questions of statutory construction and
18   constitutional interpretation. The issue in this case is whether aliens detained for six
19   months or longer under one of the four general immigration detention statutes – 8
20   U.S.C. § 1225(b), 1226(a), 1226(c), and 1231(a) – are entitled to a bond hearing
21   before an immigration judge.
22         In deciding that this case could go forward as a class action, the Ninth Circuit
23   first surveyed the case law in the area of constitutional and statutory challenges to
24   indefinite or prolonged detention. Rodriguez v. Hayes, 591 F.3d 1105, 1113-16 (9th
25   Cir. 2009). In each case the Ninth Circuit discussed, the court was able to analyze the
26   statutory and constitutional issues as a question of law, and without resort to the kind
27   of extensive factual discovery Petitioners seek in this case. The Ninth Circuit
28   explained that in each decision the Supreme Court and the Ninth Circuit had decided,
                                              32
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 1   the courts had “undertaken interpretation of the immigration detention statutes against
 2   the backdrop of the serious constitutional issues raised by indefinite or prolonged
 3   detention.” Id. at 1114. Accordingly, the Ninth Circuit concluded that the issues
 4   before it were legal issues, not factual ones: “[T]he determination of whether
 5   Petitioner is entitled to a bond hearing will rest largely on interpretation of the statute
 6   authorizing his detention. The particular characteristics of the Petitioner or any
 7   individual detainee will not impact the resolution of this general statutory
 8   question . . . .” Id. at 1124.
 9          Indeed, Petitioners argued on appeal that this action could proceed on a
10   classwide basis because the case involved “a pure question of law that has nothing to
11   do with the particular facts of any detainee’s case.” See Petitioner’s Opening Brief,
12   No. 08-56156 [Dkt. # 6], at 44; see also Petitioner’s Motion for Class Certification
13   [Dkt. # 10], at 84 (stating the “core issue in this case . . . is a pure question of law that
14   has nothing to do with the particular facts of any detainee’s case.”).
15          However, Petitioners now argue that while the issue of whether due process
16   entitles the class members to bond hearings before an immigration judge is, in fact, a
17   pure question of law, it is one that can only be answered by engaging in extensive fact
18   discovery of individual facts of the class members and others outside the class.
19   According to Petitioners, the process now extended to detained aliens under the
20   different detention provisions are not adequate under the Due Process Clause, and
21   their adequacy can only be compared to the adequacy of an immigration hearing by
22   engaging in extensive fact discovery as to broad aspects of the process now offered.
23   In characterizing the current dispute, Petitioners have asserted in correspondence to
24   Respondents’ counsel that there is “confusion concerning the nature of the pure
25   question of law in this case,” and contend that “[t]he question of whether the Due
26   Process Clause requires the type of bond hearings that the class members seek is
27   indeed a pure question of law, but courts have often resolved questions like it by
28   relying on facts about the affected people.”
                                                33
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 1         Petitioners are incorrect. A review of the decisions by the Supreme Court and
 2   before the Ninth Circuit shows that there is no confusion. No court has ever engaged
 3   in the kind of fact-sifting Petitioners seek to undertake here in any case where the
 4   length of detention was challenged by an alien under any of the statutes at issue in this
 5   case. See Prieto-Romero v. Clark, 534 F.3d 1053 (9th Cir. 2008) (legal issue of
 6   statutory construction in the context of prolonged detention under section 1226(a));
 7   Casas-Castrillon v. Dep’t of Homeland Sec., 535 F.3d 942 (9th Cir.2008) (same);
 8   Tijani v. Willis, 430 F.3d 1241, 1242 (9th Cir. 2005) (finding alien detained for nearly
 9   three years could not be mandatorily detained under section 1226(c) and ordering
10   bond hearing, impliedly finding alien was detained under section 1226(a)); Zadvydas
11   v. Davis, 533 U.S. 678 (2001) (engaging in statutory construction and constitutional
12   analysis of alien initially detained under post-final order detention provision of section
13   1231(a)(6)).
14         Petitioners attempt to give this Court the misguided impression that the kind of
15   heavily fact-based inquiry it wants to undertake is done frequently in cases like this
16   one. That is incorrect. Petitioners cite primarily to Demore v. Kim, 538 U.S. 510
17   (2003), in support of their argument, but the Supreme Court in that case looked to the
18   reasons cited by Congress for imposing mandatory detention under 8 U.S.C. §
19   1226(c), and not to any outside facts generated as a result of discovery at the district
20   court level. See Demore, 538 U.S. at 516-20 (citing information contained in Senate
21   reports and other legislative history in discussing statutory history and purpose).
22         Indeed, only one fact was introduced that was outside the congressional record
23   – the average length of removal proceedings – and it was introduced by the
24   Government for the first time in its brief to the Supreme Court. See Brief of Appellant
25   in Demore v. Kim, published at 2002 WL 31016560. Thus, the Court’s analysis of the
26   constitutional question presented cannot credibly be described as following the wide-
27   ranging, fact-dependent approach Petitioners claim is necessary here. Notably, in a
28   recent case before this Court involving the same issues of due process and adequacy
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 1   of administrative safeguards in the context of prolonged detention of aliens, counsel
 2   for Petitioners did not seek discovery of any kind, let alone the type of discovery
 3   sought here. See Diouf v. Mukasey, No. 06-07452-TJH (C.D. Cal. Sept. 9, 2009). In
 4   Diouf v. Mukasey, 542 F.3d 1222 (9th Cir.2008), the Ninth Circuit was presented with
 5   the question of whether an alien detained for longer than six months was entitled to a
 6   bond hearing before an immigration judge under 8 U.S.C. § 1231(a)(6). The Ninth
 7   Circuit held that the petitioner’s detention beyond the six month period was authorized
 8   under section 1231(a)(6), and then turned to the issue of what bond hearing, if any, the
 9   petitioner was entitled to for determining the necessity of his detention. Id. at 1233.
10   The Ninth Circuit concluded that while release on bond was clearly authorized by
11   section 1231(a)(6) and its implementing regulations, it was unclear whether a bond
12   hearing was required under the statute for petitioner and what burden if any should be
13   placed on the Government at such a hearing. Id. at 1234-35 (remanding case to this
14   Court). The Ninth Circuit remanded those issues to this Court for determination, but
15   petitioner – who was represented by counsel for Petitioners here – did not seek
16   discovery before the district court. The petitioner in Diouf did not claim, as it is now
17   claimed, that he was entitled to obtain information about the challenged custody
18   review procedures, including evidence concerning their application in particular cases.
19   Instead, this Court properly analyzed the due process question by examining the status
20   of the alien at issue, the purpose of section 1236(a) and the government interest
21   involved in the removal of aliens ordered removed, and the constitutional adequacy of
22   the custody review procedures as set forth in the regulations. Diouf v. Mukasey, No.
23   06-07452-TJH (C.D. Cal. Sept. 9, 2009) [Dkt # 74]. And he did so without claiming
24   the need for discovery that Petitioners now cite as critical to the issues before the
25   Court.
26            Petitioners, citing Mathews v. Eldridge, supra, seek to have this Court take an
27   approach that no other court has taken with regard to the types of due process issues
28   presented. Petitioners argue that they need the A-file materials, and information about
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 1   Joseph hearings, Casas hearings, parole determinations, and POCRs to test whether
 2   the class members are truly flight risks or dangers to the community, or whether they
 3   have meritorious defenses to removal or claims that have been overlooked or ignored
 4   in removal proceedings, so that they can then determine whether the administrative
 5   procedures identified above have erroneously resulted in the continued detention of
 6   the class members. But rather than present the individual facts on an individual basis
 7   – which would invite class decertification – Petitioners seek to keep the action moving
 8   as a viable class action by “aggregating” the individual data into broad categories.
 9   This, of course, would require Petitioners to show that out of the tens of thousands of
10   aliens detained each year by ICE, the aggregated sampling of information obtained
11   from the A-files and from the other requests is somehow statistically significant in
12   reflecting a pattern or practice of the kind of “error” Petitioners seek to attribute to the
13   detention system as a whole.
14         Under this theory the case is no longer about whether due process requires
15   aliens detained to have bond hearings after six months’ detention; it becomes a vague,
16   amorphous legal challenge to the immigration detention system as a whole, to which
17   Petitioners blithely claim the Court can then provide a remedy in any manner whether
18   requested in the Complaint or not. Setting that aside, Petitioners’ arguments raise
19   many questions. If the goal is to show that certain aliens are not dangers to society or
20   flight risks, how does one “aggregate” the data from A-files to show that, given that a
21   determination of flight risk and danger is an inherently individualized determination
22   based on numerous factors and considerations? If the goal is to show that aliens had
23   meritorious defenses to removal (and thus their detention is not necessary), is that
24   fairly determined by “aggregating” the results of the eventual outcomes of
25   immigration proceedings, and presenting those uncertain outcomes (uncertain at least
26   when they are being litigated) as certainties that should have been known by ICE or
27   immigration judges months or years earlier? How does one even begin to categorize
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 1   and aggregate the outcomes of immigration and judicial proceedings in a meaningful
 2   way for the purposes Petitioners intend? Is this even possible?
 3         Of course, Petitioners offer nothing to answer any of these questions. Nor do
 4   they show that their theory or approach has ever been followed in any immigration
 5   detention case anywhere, an important consideration when weighing issues of
 6   relevance in discovery. See In re American Mut. Funds Fee Litigation, 2008 WL
 7   5749912 (C.D. Cal. 2008) (“The Court finds it significant in this regard that plaintiffs
 8   are unable to cite a single § 36(b) case in which the district court ordered the
 9   defendant’s independent outside auditor to produce its workpapers.”). Nor do
10   Petitioners offer anything other than vague argument as to why gleaning the individual
11   information sought is relevant, or how it can even be gathered and “aggregated” in
12   any meaningful way.
13         It is not possible to “aggregate” thousands of pieces of such individualized data
14   to show an aliens’ flight risk or danger based on the contents of an A-file. Besides the
15   fact that the information would not exist in an A file for individuals that are detained
16   under 1225(b), 1226(c) and 1231(a) because those statutes do not provide the
17   Government with the authority to even hold a bond hearing, flight risk and danger to
18   community are subjective determinations that are ultimately left to the discretion of an
19   immigration judge. For instance, what is the legal basis for claiming that a parole
20   determination, a discretionary determination of temporary admittance to the United
21   States for humanitarian or other grounds – a type of “custody determination” that can
22   ever be in error? How is a Joseph hearing, which is not an individualized
23   determination of flight risk or danger, but an objective determination of whether a
24   criminal alien is subject to section 1226(c) detention, even relevant? How is it
25   relevant to determining whether Casas hearings, already available to certain aliens not
26   covered in the class, are constitutionally adequate in this proceeding? How can one
27   determine that POCRs are “erroneous” by their outcome?
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 1         The claims presented in this case present straightforward issues of statutory and
 2   constitutional interpretation, and the fact discovery sought is not relevant to those
 3   issues. Respondents now discuss these broad and general issues of relevance in the
 4   specific context of the request for A-files.
 5                2.     Even narrowed, Petitioners seek the majority of materials
 6                       contained in each A-file.
 7         Petitioners originally requested the A-files of every class member back to 2006.
 8   See DHS RPD No. 1. On March 8, 2011, Petitioners – acknowledging Respondents’
 9   assurance that responding to the request would be unduly burdensome – narrowed the
10   scope of the request by (1) requesting the A-files of all individuals detained for six
11   months or longer, and who spent a significant portion of that period in the Central
12   District, from April 21, 2010 to the present, and (2) requesting certain materials form
13   the A-files, rather than the entire A-file.
14         Petitioners have not narrowed their request to make it unduly burdensome.
15   Although the time period the request covers has been limited from 4 years ago to 1
16   year ago, the number of A-files this will require review of remains large –certainly
17   more than 350, and possibly more than 1,000. See Section II.C.3, below.
18         Nor is the scope of the materials sought in the A-files meaningfully narrowed
19   by Petitioners’ March 8, 2011 revised request. The request as revised seeks:
20             • Any document sent, given or otherwise delivered by a Petitioner to the
                  federal courts, DOJ or DHS (including ICE, CBP and USCIS). This
21                would include, but would not be limited to: all applications or petitions
22                for any immigration benefit filed with USCIS, the voluminous exhibits
                  often attached to those applications, and all associated forms, notices,
23                requests, and motions filed with USCIS; all documents associated with
24                any appeal of a final order of removal or requests for stays with the Ninth
                  Circuit, to the extent contained; all briefs, correspondence, and exhibits
25                filed in removal proceedings; all change of address forms, attorney
26                representation forms, or any other documents filed with EOIR.

27             • Documents sent, given or otherwise delivered by those entities (DOJ,
28               DHS, ICE, CBP, or USCIS) to a Petitioner. This would include, but
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 1                would not be limited to: all correspondence, notices, requests for
 2                evidence, or other communications sent by USCIS in connection with an
                  application or petition for an immigration benefit; all legal briefs,
 3                exhibits, and other documents filed by the Government in any removal
 4                proceeding, as well as all correspondence, notices, orders, and decisions
                  issued by any immigration judge, the Board of Immigration Appeals, or
 5                EOIR; all warrants, notices, forms, decisions, or other documents issued
 6                to a Petitioner by ICE or DHS; and any documents sent to a Petitioner by
                  any federal court.
 7
               • POCR worksheets and the transcripts, if produced, of any statements
 8
                 given by a detainee to DOJ or DHS officials, such as transcripts of
 9               removal hearings or CBP interviews.
10
           Petitioners’ “narrowed” request is not significantly narrowed because it seeks
11
     Almost every document contained in an A-file. An A-file is, after all, the entire
12
     administrative record of an alien. The only types of documents not covered by
13
     petitioners’ request are documents that they could not claim any relevance in anyway:
14
     adjudicator notes and memos, attorney notes, cover sheets, form documents. Much of
15
     this would be privileged, and none of it would be relevant.
16
           Respondents note that they have agreed – as a compromise in further
17
     negotiations – to provide Petitioners with a wide range of information contained in
18
     electronic databases maintained by respondents. Specifically, respondents expect to
19
     produce for every alien detained for six months or longer in the Central District, going
20
     back one year, the following information: name; A-number; country of origin;
21
     detention facility; initial detention date; end date of detention; reasons for release from
22
     detention (i.e. removed, released on order of supervision, granted cancellation of
23
     removal); initial charge of removability; immigration status (if known); criminal
24
     categorization by ICE (if any); posted bond amount (if any); dates of all immigration
25
     hearings and the electronic notations notes of the outcomes of those hearings; dates of
26
     attorney representation.
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 1         Respondents’ agreement to produce a wide-range of information in readable
 2   electronic format from Respondents’ databases demonstrates a willingness to provide
 3   information that arguably could be objectively aggregated and renders Petitioners’
 4   request for A-file materials duplicative in some respects. But more importantly, it is
 5   not relevant to this case and overly burdensome to produce.
 6                3.     The A-file materials requested are not relevant to this action.
 7         As discussed above, see Section II.C.1, supra, Petitioners have repeatedly
 8   described this action as involving a “pure question of law” that has “nothing to do”
 9   with the individual facts of any detainee. Petitioners now argue that it needs to obtain
10   the individual A-files based on the generalized and largely non-specific argument that
11   the files contain highly relevant and critical information regarding each class
12   member’s detention and immigration case. See Petitioners’ Contentions, id.
13   Petitioners totally contradict their previous position that earned them class
14   certification by asserting that they are entitled to engage in an “aggregate factual
15   inquiry” to discover the individual circumstances of each class member, because those
16   individual facts are material to this case.
17         In the Joint Stipulation previously submitted to this Court [Dkt # 103],
18   Petitioners provided three specific reasons why the A-file materials sought are
19   relevant: (1) to determine the “accuracy” of custody determinations; (2) to show, for
20   each detainee, “the related deprivation of time with family and loss of job
21   opportunities;” and (3) to show the total number of days in detention, which will help
22   clarify the “cost incurred by DHS to detain each class member.” Apart from these
23   specific grounds for relevance, Petitioners offered vague and general assertions about
24   the need for “aggregate data” within the Mathews due process framework they think
25   the Court should follow.
26         At the outset, the Court should disallow the request as overly broad because it
27   seeks information that is inherently irrelevant given the claimed need for the
28   materials. It is unclear, for example, what relevance there is in this case to the
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 1   numerous filings made by either the Government or aliens in immigration proceedings
 2   such as legal briefs, supplemental authorities, declarations, country reports, etc. Nor
 3   can Petitioners articulate why they would need any applications or petitions for
 4   immigration benefits with USCIS. Nor can Petitioners explain why they would need
 5   to review change of address forms, notices of legal representation, correspondence, or
 6   any of the myriad of other documents that may be contained in an A-file. This is a
 7   fishing expedition for inherently irrelevant information.
 8          Petitioners’ request for the A-files should also be disallowed because the
 9   information they seek is not relevant to their legal challenge that every alien,
10   regardless of individual circumstances, is entitled by the Constitution to a bond
11   hearing after six months in detention, and that no statute authorizes detention for any
12   period beyond six months. However, rather than decide this discovery issue in the
13   abstract or against the backdrop of Petitioners’ vague and largely unspecified
14   assertions of need, it is instructive to consider their claimed need for the demanded A-
15   files and immigration court records against the statutory and constitutional issues
16   involved in this case.
17                       a.    Section 1231(a)(6) Detainee Files
18          In seeking the A-file and court records of every class member, Petitioners
19   necessarily demand the files of each sub-class member, including the individual files
20   of each alien detained pursuant to 8 U.S.C. §1231(a)(6). That statute governs the
21   detention of aliens ordered removed and whose continued custody is subject to
22   custody reviews conducted by ICE. 8 U.S.C. § 1231; see also 8 C.F.R. §§ 241.4,
23   241.13, and 241.14. As Petitioners previously maintained, they seek the A-file
24   materials of each class member (present or detained in the past year) to determine
25   whether an individual who received a custody review . . . was ordered detained when
26   the facts in his record suggest that he does not pose a danger or flight risk.” See Dkt #
27   103.
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 1          Petitioners want the A-files of section 1231(a)(6) detainees to try and establish
 2   that for some detainees there was insufficient evidence to support a finding, on an
 3   individual basis, that those detainees posed a danger or flight risk. By seeking the
 4   individual A-files of section 1231(a)(6) detainees, Petitioners appear to be preparing
 5   an argument that for certain groups of detainees (for example, a group of aliens with
 6   no criminal record, or group with substantial ties to the community, etc.) the custody
 7   determinations they received are inadequate. But that goes against the core challenge
 8   in this case (as it applies to section 1231(a)(6) aliens) that all aliens are entitled to a
 9   bond hearing when they have been detained for six months, regardless of their
10   individual circumstances. Petitioners claim that the only constitutionally adequate
11   process for determining whether continued detention is justified is a bond hearing.
12          Under Petitioners’ theory, as framed by their Complaint, the adequacy of the
13   custody review process as applied on an individual basis is not at issue because the
14   custody review process, no matter how fully and properly applied, is constitutionally
15   inadequate on its face. In other words, Petitioners contend that there are no set of
16   individual circumstances where the custody review process will be constitutionally
17   adequate as applied to any alien detained for six months or longer. However, if that is
18   true, then it is totally irrelevant how well that constitutionally inadequate custody
19   review process worked or did not work for class members on an individualized basis.
20          The argument that section 1231(a)(6) aliens are entitled to a bond hearing
21   because the custody review process – even at its best – is constitutionally inadequate
22   is not new. Counsel for Petitioners, in another case, have recently presented this
23   Court with substantially the same challenge to the prolonged detention of section
24   1231(a)(6) detainees. See Diouf v. Mukasey, No. 06-07452-TJH (C.D. Cal. Sept. 9,
25   2009). In that case, the American Civil Liberties Union argued that bond hearings
26   were necessary because the custody review process was facially insufficient to justify
27   prolonged detention. Id. Counsel also argued, alternatively, that the custody review
28   process was inadequate as applied to Diouf’s individual circumstances. But the as-
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 1   applied argument was separate and distinct from the broader statutory and
 2   constitutional challenge asserted in that case. The same statutory and constitutional
 3   challenge is made in this case, and a review of Diouf demonstrates that the individual
 4   facts and circumstances of the detainee were irrelevant to the petitioner’s argument.
 5   Petitioners cannot credibly argue that the individual facts they seek are relevant to
 6   substantially the same statutory and constitutional claim in this case.
 7                      b.     Section 1226(c) Detainee Files
 8         Petitioners also seek the A-files and court records of every class member
 9   detained under 8 U.S.C. § 1226(c). That statute governs the detention of aliens in
10   removal proceedings who have committed certain serious criminal and terrorism-
11   related offenses. Id. Detention under section 1226(c) is mandatory, not discretionary.
12         Petitioners have provided no basis for requesting the A-files of section 1226(c)
13   detained aliens, nor can they. Even if Petitioners are correct that Mathews v. Eldridge
14   governs this action, there is no administrative alternative to detention under 1226(c) to
15   “balance” against an immigration bond hearing. Congress provided for mandatory
16   detention by statute. There is no “cost” of an alternative to detention to consider,
17   because the cost-benefit analysis Petitioners want this Court to engage in simply does
18   not apply where mandatory detention is concerned.
19         Demore v. Kim addressed the constitutionality of section 1226(c) and the issue
20   of prolonged detention under that statute. The Supreme Court concluded that
21   mandatory detention was constitutional, and could continue beyond six months,
22   without regard to individualized showings of flight risk and danger. Demore, 538
23   U.S. at 528. In reaching its conclusion, the Court did not, as Petitioners have argued,
24   “resolv[e] [the] question [of] whether due process required bond hearings by relying
25   on aggregate data concerning individual cases.” See Dkt # 103. Instead, as with every
26   other case involving a challenge to prolonged immigration detention, the Supreme
27   Court engaged in a straightforward analysis of the rights of the alien as compared to
28   the compelling interest of the government in continuing detention. That the Court
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 1   cited the number of aliens nationwide who did not appear for removal (a fact not
 2   material here) and the average length of removal proceedings (a fact that was offered
 3   during briefing to the Supreme Court) is not, as Petitioners argue, a basis to permit the
 4   type of discovery sought here. In Demore, the Court did not determine that the
 5   petitioner’s detention was unconstitutionally prolonged by looking at the length of his
 6   detention (which exceeded the average length of removal proceedings in any event),
 7   but by engaging in a statutory analysis of Congress’s intent, the historic and
 8   substantial interests in ensuring the presence of aliens for hearings, and the aliens’
 9   more limited liberty interests. Id. at 526-528.
10          In contrast, Petitioners here argue that as a constitutional matter, all detention
11   becomes constitutionally prolonged at six months, a bright-line rule that was rejected
12   by the Court in Demore. Moreover, the Court determined that the detention of
13   criminal aliens under section 1226(c) was constitutional even without a determination
14   of the individual’s risk of flight or danger. Id. Petitioners cannot credibly claim that
15   Demore stands for the proposition that the individual facts and circumstances of each
16   detainee’s risk of flight and danger must be weighed in undertaking the statutory and
17   constitutional analysis. The A-files and individual court records of each class member
18   are irrelevant to the pure legal issues before this Court.13
19                       c.     Section 1226(a) Detainee Files
20          Petitioners also seek the A-files and immigration court records of every class
21   member detained under 8 U.S.C. § 1226(a). Put simply, that statute governs the
22
     13
23       Respondents have already addressed Matter of Joseph hearings, see supra at ___.
     However, regarding the A-files and court records, Petitioners make the argument that
24
     they need to know the outcome of every Joseph hearing for each detainee to determine
25   the “accuracy” of those proceedings. That argument is wholly without merit. It is
     inconceivable that the legal issues in this case require the examination of each class
26
     member’s file to determine whether an immigration judge was correct or incorrect in
27   finding, based on the alien’s criminal offense, that the alien was properly subject to
     section 1226(c).
28
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 1   detention of aliens in removal proceedings who have made an entry into the United
 2   States and who are not subject to detention under another statute. Id. Detention under
 3   section 1226(a) is discretionary. If ICE determines not to exercise its discretion and
 4   release an alien under section 1226(a), the alien may seek a redetermination of his
 5   custody at a hearing before an immigration judge who will determine whether the
 6   alien poses a flight risk or danger. See 8 C.F.R. § 236.
 7         Consequently, class members detained under section 1226(a) are already
 8   procedurally provided with a hearing before an immigration judge. The challenge
 9   Petitioners raise in this context, however, is that the immigration hearings the aliens
10   are provided with are constitutionally inadequate because such hearings are not
11   provided with counsel for the alien at the Government’s expense; such hearings are
12   not transcribed; and such hearings follow constitutionally deficient standards of proof
13   and burden. The individual records of aliens detained under section 1226(a) have no
14   bearing whatsoever on the determination of whether those procedures are
15   constitutional. No information contained in class members’ records could shed any
16   light on the legal issues presented in this regard. The discovery as to these aliens
17   should be denied.
18                       d.      Section 1225(b) Detainee Files
19         Petitioners also seek the A-files of every class member detained under 8 U.S.C.
20   § 1225(b). That statute governs the detention of aliens arriving in the United States
21   and other aliens who have not been admitted or paroled. Id. Detention under section
22   1225(b) is discretionary or mandatory, depending on the initial determination of a
23   claim of asylum. See 8 U.S.C. § 1125(b)(1)(B)(IV), and aliens may only be released
24   under section 1225(b) through the entirely discretionary parole determination process
25   of 8 U.S.C. § 1182(d)(5).
26         The files of section 1225(b) detainees are irrelevant to this case because, even if
27   Petitioners are correct as the procedural due process framework applied, arriving
28   aliens have no constitutional right to due process regarding their admission or
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 1   exclusion. See, e.g., Alvarez-Garcia v. Ashcroft, 378 F.3d 1094 (9th Cir. 2004);
 2   Barrera-Echavarria v. Rison, 44 F.3d 1441, 1448 (9th Cir. 1995) (en banc).
 3   Consequently, these aliens do not enjoy the kind of due process rights necessary to
 4   trigger the due process “balancing” test that Petitioners cite to justify their expansive
 5   request for A-files and court records for every class member. The contents of the files
 6   of section 1225(b) detainees is wholly irrelevant to this case.
 7                4.     The request for A-file materials is unduly burdensome,
 8                       particularly in light of the irrelevance of the information to be
 9                       obtained.
10          If the Court orders Respondents to produce every A-file of every class member
11   (as Petitioners now define the term “Petitioner”), then Respondents maintain their
12   objection that the request is overly broad and unduly burdensome.
13          The scope of the A-file material requested includes the A-files for certainly
14   hundreds of aliens. As of February 14, 2011, there were 350 aliens detained for more
15   than six months in the Central District. That number represented a one-day snapshot.
16   Because Petitioners seek the A-files of aliens so detained going back to April 21,
17   2010, the number – as yet unknown14 – could be well in excess of 1,000 aliens.
18          Once identified, locating and obtaining the A-files would require a significant
19   undertaking in terms of time and effort. See Declaration of Dominick Gentile,
20   attached hereto as Respondents’ Exhibit 1; Declaration of Monti Zimmerman,
21   attached hereto as Respondents’ Exhibit 2. A-files of aliens are not centrally stored,
22
     14
23     Respondents are in the process of building a SQL database search inquiry that will
     permit ICE to identify not only those currently detained, but those who were detained
24
     and who met the parameters set forth by Petitioners going back one year. Eventually
25   the SQL query must be run on a day-by-day basis going back through the database to
     ensure that the search captures everyone who meets Petitioners’ criteria. Until that
26
     search is completed before the end of April 2011, the precise universe of aliens as
27   defined by Petitioners is unknown.
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 1   uniformly compiled, and they are not all kept electronically. A-files are kept in paper
 2   form, and are not always maintained by ICE, even when an alien is in detention. If a
 3   class member is in removal proceedings, the A-file could be with ICE in the Los
 4   Angeles Field Office, or even at another field office; it could be at ICE headquarters in
 5   Washington for custody review; it could be with DHS counsel for a hearing before an
 6   immigration judge; it could be with the Department of Justice for district or appellate
 7   court litigation; it could be with USCIS for action on an application or petition for
 8   immigration benefits; it could also be with the National Records Center. There is no
 9   inter-department central case file tracking, and locating the files themselves would
10   take considerable time and require considerable dedicated resources. See Gentile
11   Declaration. It will require coordination among at least four departments or agencies
12   – DOJ, USCIS, ICE, and EOIR – simply to locate the files, compile the materials, and
13   produce them for review.
14         Once located, the files – which, depending on the length of removal
15   proceedings and immigration benefits applied for, can range between a few dozen
16   pages to more than 1000 pages – would then have to be reviewed by counsel for DHS
17   and DOJ, as well as litigation counsel, to ensure that the vast array of documents
18   sought in the “narrowed” request (as defined by Petitioners’ March 8, 2011 letter) are
19   identified and pulled for production. See Resp. Exh. 1, Gentile Declaration. As noted
20   above, these materials will constitute the bulk of the A-files, and many of those
21   documents will have to undergo an additional review to ensure redactions in
22   compliance with the Privacy Act, with departmental guidelines, with respect to
23   confidentiality regulations respecting asylum claims, and to ensure no documents
24   classified on national security grounds are produced. See Resp. Exh. 2, Zimmerman
25   Declaration. Respondents may also have to obtain approval and coordinate
26   production with CBP, USCIS, and all agencies that fall under DOJ because
27   Petitioners’ request seeks documents from these agencies, as well. Id.
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 1           The burden imposed by this request is undue, particularly in light of the fact
 2   that (1) many of the pages produced will have no relevance whatsoever to this case,
 3   see Respondents’ Contentions, supra at Section I.D.2., and (2) the material produced
 4   will have no relevance in this case to either the claims of Petitioners or the defenses
 5   raised by the Government for the reasons discussed herein. Where the burden
 6   imposed by a request is offset by marginal relevance, it should be disallowed as overly
 7   burdensome. See In re Community Psychiatric Centers Securities Litigation, SA
 8   CV91-533AHS, 1993 WL 497253 * 7 (C.D. Cal. 1993) (“Since the relevant
 9   information in the minutes is such a small portion of the documents, which total over
10   27,000 pages, and since plaintiffs have not shown that the remainder of the documents
11   sought are reasonably calculated to lead to the discovery of admissible evidence, the
12   Court finds that production of the entirety of the Consulting Board Minutes would be
13   overly burdensome.”). Here, Petitioners can show no relevance, let alone marginal
14   relevance, of their A-files request. The request should be disallowed.
15
     II.     WRITTEN POLICIES AND PROCEDURES REGARDING CERTAIN
16
             PROCEDURES
17
             A.    Text of the Disputed Discovery
18
19           DHS RPD No. 3:
20           All DOCUMENTS RELATING TO Respondent’s policies, procedures, or
             practices for providing CUSTODY DETERMINATIONS or hearings pursuant
21           to Matter of Joseph, 22 I. & N. Dec. 799 (BIA 1999), that apply, or have at any
22           time since October 1, 2006 applied, to PROLONGED DETAINEES.

23           DHS RPD No. 6:
24           All DOCUMENTS RELATING TO Respondent’s policies, procedures,
             practices, forms, and trainings about CUSTODY DETERMINATIONS that
25           apply in the Central District of California, including but not limited to manuals,
26           guidances, instructions, policy statements, legal memoranda, training materials,
             and sample forms, worksheets, and letters.
27
28           DOJ RPD NO. 3
                                                 48
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 1         All DOCUMENTS RELATING TO the Department of Homeland Security’s
 2         (DHS’s) and Respondent’s policies, procedures, or practices for providing
           BOND HEARINGS, CASAS HEARINGS, or hearings pursuant to Matter of
 3         Joseph, 22 I. & N. Dec. 799 (BIA 1999), that apply, or have at any time since
 4         October 1, 2006 applied, to PROLONGED DETAINEES.

 5         B.     PARTIES’ PROPOSALS

 6
           During their February 28, 2011, meet and confer and in subsequent
 7         correspondence and email, the parties were able to reach partial agreement with
 8         respect to DHS RFP No. 3 and No. 6, and DOJ RPD No. 3. The parties agreed
           that Respondents would produce written policies and procedures concerning
 9         bond hearings, the initial decision to detain and the decision to release detainees
10         on supervised release (including electronic monitoring).
11         Petitioner proposed that they would not seek to compel responses to DHS RFP
12         No. 3 and No. 6, and DOJ RPD No. 3 if Respondents also produced their
           written policies, procedures and practices with respect to parole determinations,
13         post-order custody reviews, Casas hearings and Joseph hearings. Respondents
14         maintained their objections with respect to these parole determinations, post-
           order custody reviews, Casas hearings and Joseph hearings.
15
           C.     PETITIONERS’ CONTENTIONS
16
           Petitioner requests copies of the policies and procedures that describe the
17
     Respondents’ existing custody review practices, because Petitioner claims they are
18
     inadequate to satisfy due process requirements. Respondents agree that “there is no
19
     dispute that in deciding this case the Court must determine whether non-citizens are
20
     provided with adequate due process under the current detention procedures.” See
21
     infra Respts’ Intro Section. Given this concession, it should be self-evident that
22
     Petitioners’ requests seek documents that bear directly on the claims in this case.
23
     Because the government continues to defend the adequacy of its detention policies and
24
     procedures, the requests also are relevant to Respondent’s purported defenses. See,
25
     e.g., Resp’t Rule 12(c) Motion at 36-37 (arguing for dismissal based in part on “robust
26
     process” provided to class members) [Dkt. # 130]. Petitioner thus has a right to such
27
     documents, and Respondents should be ordered to produce them.
28
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 1         During the meet and confer process, Respondents offered to provide some of
 2   Petitioner’s requests for policies and procedures, and Petitioner in turn narrowed his
 3   requests, such that the only ones now in dispute concern policies and procedures
 4   regarding parole determinations, Casas hearings, custody reviews pursuant to 8 C.F.R.
 5   § 241.4, and Joseph hearings. Petitioner believes that the policies and procedures on
 6   these issues will demonstrate that, despite Respondent’s protestations, class members
 7   never receive constitutionally adequate process with respect to their prolonged
 8   detentions. Therefore, discovery into the procedures afforded to class members
 9   certainly is “reasonably calculated to lead to the discovery of admissible evidence.”
10   Fed. R. Civ. P. 26(b)(1).
11         Respondents argue that discovery into policies and procedures should not be
12   allowed, but fails to satisfy its burden. Bible v. Rio Props., Inc., 246 F.R.D. 614, 617
13   (C.D. Cal. 2007) (“party who resists discovery has the burden to show discovery
14   should not be allowed, and has the burden of clarifying, explaining, and supporting its
15   objections”). Respondents assume either (a) that Petitioner’s legal theories are
16   meritless and thus that the requests are irrelevant; or (b) that, because core issues in
17   this case present legal questions of statutory and constitutional interpretation,
18   Petitioner is required to proceed with this class action without the benefit of discovery
19   into the underlying facts. These arguments have been largely addressed above, and
20   therefore will be discussed here only to the extent that the discussion is not
21   duplicative.
22         First, as noted above, Respondents’ doctrinal objections on relevance grounds
23   were rejected by Judge Hatter and are contrary to controlling authority. Second,
24   Respondents cannot limit the scope of discovery on the ground that this case has been
25   certified as a class action. Petitioner is not required to advance the interests of class
26   members only by arguing legal propositions in the abstract. Petitioner is entitled to
27   discovery “if there is any possibility that the information sought may be relevant to the
28   subject matter of [the] action.” See City of Rialto v. U.S. Dept. of Defense, 492 F.
                                                50
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 1   Supp. 2d 1193, 1202 (C.D. Cal. 2007); Oakes v. Halvorsen Marine Ltd., 179 F.R.D.
 2   281, 283 (C.D. Cal. 1998). Documents about current policies and practices certainly
 3   are relevant to Petitioner’s claims that class members are entitled to greater
 4   protections than currently exist.
 5         Finally, the Ninth Circuit regularly begins any due process analysis by asking
 6   what procedural protections currently exist. Casas-Castrillon v. Dep’t of Homeland
 7   Security, 535 F.3d 942, 952 (9th Cir. 2008) (remanding due process challenge to
 8   develop a record regarding “the procedural review” the petitioner received). The
 9   government has already argued in this case that the existing procedures are adequate.
10   See, e.g., Resp’t Rule 12(c) Motion at 36-37 (characterizing post order custody
11   reviews as a “robust process”) [Dkt. # 130]. Given that the government is not
12   prepared to concede that Petitioners received constitutionally inadequate procedures
13   then the documents sought by way of these Requests remain clearly relevant.
14         In short, the government cannot assert that its policies and procedures for parole
15   determinations, Casas hearings, custody reviews, and Joseph hearings are
16   constitutionally adequate without disclosing what those procedures in fact are.
17         Respondents also make several arguments specific to each set of policies
18   requested that merit a brief response:
19         •      Parole determinations (8 C.F.R. §§ 235.2, 1235.2, 8 U.S.C.
20   § 1182(d)(5)(A)): Policies and procedures regarding parole determinations are clearly
21   relevant. Parole determinations are the one and only opportunity that most class
22   members who are arriving noncitizens have to challenge their detentions. The policies
23   and procedures respecting these determinations certainly are relevant to their claims
24   that they do not receive constitutionally adequate process given their prolonged
25   detentions. Respondents argue that these class members have no due process rights,
26   but, again, the District Court already rejected that argument by denying the Rule 12(c)
27   motion. Dkt. #155 at 2.
28
                                                51
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 1         •      Casas hearings: Casas hearings are bond hearings where the
 2   government bears the burden of proof that are supposed to be provided to class
 3   members whose removal orders are stayed upon direct judicial review. The parties
 4   disagree as to what procedures must be afforded to class members at such hearings.
 5   Respondents argue that compliance with Casas would defeat the claims of class
 6   members, citing dicta from the last appeal in this case. Rodriguez merely states that
 7   “full compliance” with Casas “could reduce the size of the class.” Rodriguez v. Hayes,
 8   591 F.3d 1105, 1118 (9th Cir. 2010) (emphasis added). This hardly forecloses
 9   discovery to determine whether the government complies, particularly given that the
10   parties disagree as to what procedures must be afforded at a constitutionally-adequate
11   hearing. Moreover, even assuming “full compliance” with Casas would decrease the
12   size of this class, Petitioners are entitled to determine whether Respondents in fact
13   maintain policies and procedures consistent with Casas, even if only to determine
14   whether Casas hearings impact the size of the class. See Oppenheimer Fund, Inc. v.
15   Sanders, 437 U.S. 340, 351, n.13 (1978) (“discovery often has been used to illuminate
16   issues . . . such as numerosity” of a class).
17         •      Post order custody reviews (8 C.F.R. § 241.4): Post order custody
18   reviews are provided to class members whose cases are stayed pending judicial
19   review, and are the only form of process provided to the class members detained
20   under Section 1231(a)(6). There can be no serious dispute that policies and
21   procedures concerning these reviews is highly relevant to assessing the quality of the
22   existing detention procedures.
23         •      Joseph hearings: The class includes persons subject to prolonged
24   detention under 8 U.S.C. § 1226(c). Such persons are entitled to Joseph hearings,
25   which determine whether noncitizens are subject to mandatory detention under
26   Section 1226(c) or discretionary detention under Section 1226(a). Respondents
27   concede that these hearings are supposed to provide “procedural safeguard[s]” at the
28   “outset of detention[s].” See infra at section II.D. See also Demore, 538 U.S. at 514;
                                                52
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 1   514 n.3; 532 (Kennedy, J., concurring). This demonstrates precisely why Petitioner
 2   requests policies and procedures for Joseph hearings. The government is relying on
 3   the adequacy of Joseph hearings to detain class members for prolonged periods of
 4   time. The fact that Joseph hearings occur at the “outset” of a detention does not make
 5   them irrelevant.15 Petitioners seek to show that the existing protections afforded to
 6   class members – from the outset of a detention through the point at which a detention
 7   becomes unconstitutionally prolonged – violate due process. The adequacy of Joseph
 8   hearings thus is squarely at issue, and Joseph policies and procedures are an
 9   appropriate subject of discovery.
10           Finally, Respondents’ assertion of burden is unsubstantiated. Respondents do
11   not contend – because they cannot – that producing policies and procedures for these
12   four types of hearings and determinations would require a voluminous production of
13   documents or an unjustified expenditure of government. The requests likely will
14   result in the production of no more than a few hundred pages of documents.
15   Moreover, any minimal burden associated with responding to these requests is far
16   outweighed by the fundamental due process rights at stake for hundreds of current and
17   future class members.
18        The Court therefore should compel Respondents to produce the requested policies
19   and procedures.
20           D.    RESPONDENTS’ CONTENTIONS
21           Respondents object to Petitioners’ discovery requests because they seek
22   information regarding the hearings and procedures that are wholly irrelevant to this
23   action. Petitioners have not explained how these requests are likely to lead to the
24   production of information that has any bearing on the question of law that lies at the
25
26   15
       Indeed, the government has agreed to produce policies and procedures concerning
27   an initial decision to detain pursuant to Section 1226(a), which also occurs at the
     outset of detention.
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                                               53
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 1   center of this action. An examination of each hearing or proceeding shows that the
 2   requested information is corollary to the legal issues presented.
 3         First, Petitioners seek a variety of information as it relates to hearings
 4   conducted under Matter of Joseph, 22 I. & N. Dec. 799 (BIA 1999). Joseph hearings,
 5   and the procedures that implement them, see 8 C.F.R. § 3.19(h)(2)(ii), exist to permit
 6   aliens to test whether they are properly detained in the first instance under section
 7   1226(c). They permit an alien to challenge, for example, whether he fits within one of
 8   the enumerated categories of criminal aliens under section 1226(c)(1)(A) - (D) before
 9   an immigration judge. The Joseph hearing is no more or less than a forum to permit
10   an alien to challenge the application of the mandatory detention statute to his
11   detention. It is not an individualized hearing as to flight risk or danger. It is instead
12   an objective determination by an immigration judge as to whether the crime
13   underlying the charge of removal falls into one of the categories of offenses under
14   section 1226(c)(1)(A) through (D) that subjects an alien to detention under section
15   1226(c), as ICE determined in its initial custody determination. It is not an
16   administrative procedure meant to provide adequate procedural safeguards against
17   continued detention – it is a procedural safeguard to determine, at the outset of
18   detention, whether detention is properly qualified under section 1226(c). It is unclear
19   how statistics, data, or other aggregate information about the outcomes of Joseph
20   hearings for any alien, is relevant to the statutory or constitutional issue in this case.
21         Similarly, Petitioners have not identified how parole determination statistics or
22   regulations will be relevant in this action. As noted above, the determination of
23   whether an arriving alien who has not effected an entry into the United States has
24   rights to challenge his detention is not a new question in the history of this nation’s
25   jurisprudence. See, e.g., Alvarez-Garcia v. Ashcroft, 378 F.3d 1094 (9th Cir. 2004).
26   The statutory and constitutional issue of whether an arriving alien detained under
27   section 1225(b) has always been examined in the context of the threshold issue of
28   whether such an alien has any due process rights, or whether those rights are
                                              54
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 1   outweighed by the Government’s broad and plenary authority over the admission or
 2   exclusion of aliens. See, e.g., Barrera-Echavarria v. Rison, 44 F.3d 1441, 1448 (9th
 3   Cir.1995), superseded by statute on other grounds as stated in Xi v. United States INS,
 4   298 F.3d 832, 837 (9th Cir. 2002). The availability and frequency of the grant of the
 5   discretionary authority of parole is irrelevant to this action.
 6         Petitioners also seek vast information about the policies, procedures,
 7   implementation, and outcomes of hearings conducted pursuant to Casas-Castrillon v.
 8   Dep’t of Homeland Sec’y, 535 F.3d 942 (9th Cir. 2008). This action preceded the
 9   Ninth Circuit’s decision in Casas-Castrillon, and Petitioners’ inclusion of requests
10   addressing Casas-Castrillon are inexplicable given the Ninth Circuit’s statement, in
11   this case, that “[i]f an alien who would otherwise be a member of the class receives a
12   bond hearing pursuant to Casas-Castrillon or any other ruling they would cease to be
13   a member of the class.” Rodriguez, 591 F.3d at 1118.
14         Petitioners also seek information regarding the outcomes of custody reviews
15   conducted pursuant to 8 C.F.R. § 241.4. Such reviews are available for aliens who
16   have been ordered removed and who are detained pending their removal. 8 C.F.R. §
17   241.4. Again, however, the provision of custody reviews in this action cannot be
18   relevant to the statutory and constitutional interpretation questions that underlie this
19   case. The issue of whether aliens detained for six months or longer are entitled to
20   constitutional safeguards has been examined under Zadvydas v. Davis, 533 U.S. 678
21   (2001). As the Ninth Circuit has recognized, the issue of the constitutionality of the
22   detention of aliens pursuant to post-final order detention provisions is different from
23   the type of pre-order analysis courts engage in. In Zadvydas, whether an alien may
24   lawfully be detained beyond the presumptively reasonable six-month period depends
25   on whether there is a significant likelihood that the alien will be removed in the
26   reasonably foreseeable future. If so, then the Supreme Court has stated that continued
27   confinement is authorized by section 1231(a)(6), and release after six months is not
28   required. Id. at 702 (“This 6-month presumption, of course, does not mean that every
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 1   alien not removed must be released after six months. To the contrary, an alien may be
 2   held in confinement until it has been determined that there is no significant likelihood
 3   of removal in the reasonably foreseeable future.”). In any event, the issue of whether
 4   such aliens must be provided with a bond hearing – if not answered by Zadvydas – is
 5   nevertheless an issue of statutory and constitutional interpretation that does not
 6   depend on a factual analysis of the custody reviews provided to class members.
 7          The requests should be disallowed.
 8   III.   REQUESTS FOR ADMISSIONS REGARDING CERTAIN
 9          PROCEDURES
10          A.    Text of the Disputed Discovery
11
            DHS RFA NO. 3
12          Admit that the Department of Justice has no policy or practice requiring the
13          creation of transcripts of BOND HEARINGS and CASAS HEARINGS.

14          DHS RFA NO. 4
15          Admit that Respondent has no policy or practice requiring the creation of
            transcripts of interviews or any other proceedings conducted as part of
16          CUSTODY REVIEWS and PAROLE DETERMINATIONS.
17
            DHS RFA NO. 5:
18          Admit that Respondent has no policy or practice of informing individuals who
19          are eligible for a hearing under Casas-Castrillon v. Dep’t of Homeland Sec’y,
            535 F.3d 942 (9th Cir. 2008), that they are eligible for such a hearing.
20
21          DHS RFA NO. 6:
            Admit that some PROLONGED DETAINEES who are eligible for a CASAS
22          HEARING under Casas-Castrillon v. Dep’t of Homeland Sec’y, 535 F.3d 942
23          (9th Cir. 2008), do not receive such a hearing.

24          DHS RFA NO. 7:
25          Admit that Respondent has failed to provide CUSTODY REVIEW(S) within
            the time periods outlined in 8 C.F.R. 241.4(k) to every eligible PROLONGED
26          DETAINEE.
27
            DHS RFA NO. 8:
28
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 1       Admit that, as part of its CUSTODY REVIEW process, Respondent has not
 2       conducted in-person interviews for all PROLONGED DETAINEES with final
         administrative removal orders, pursuant to 8 C.F.R. 241.4 or 8 C.F.R. 1241.4.
 3
 4       DHS RFA NO. 9:
         Admit that Respondent has failed to provide a PAROLE DETERMINATION
 5       for some arriving alien asylum seekers in the Central District of California who
 6       pass a credible fear determination, as required by ICE Policy Directive No.
         11002.1, since the implementation of that Directive.
 7
 8       DHS RFA NO. 10:
         Admit that some persons in the Central District of California who request
 9       BOND HEARINGS have waited longer than 3 months to receive such a
10       hearing.
11       DHS RFA NO. 11:
12       Admit that some PROLONGED DETAINEES who request CASAS
         HEARINGS have waited longer than 3 months to receive such hearings.
13
14       DHS RFA NO. 12:
         Admit that in CASAS HEARINGS conducted in the Central District of
15       California, transcripts are not routinely maintained or prepared.
16
         DHS RFA NO. 13:
17       Admit that in CASAS HEARINGS conducted in the Central District of
18       California, PROLONGED DETAINEES do not receive counsel, paid for by the
         Government.
19
20       DHS RFA NO. 14:
         Admit that in some CASAS HEARINGS conducted in the Central District of
21       California, the burden of proof is placed on the PROLONGED DETAINEE.
22
         DHS RFA NO. 15:
23       Admit that, other than through a petition for a writ of habeas corpus or other
24       writ, there is no judicial review of the outcome of CASAS HEARINGS.
25       DHS RFA NO. 16:
26       Admit that in PAROLE DETERMINATIONS conducted in the Central District
         of California, transcripts are not routinely maintained or prepared.
27
28       DHS RFA NO. 17:
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 1          Admit that in PAROLE DETERMINATIONS conducted in the Central District
 2          of California, PROLONGED DETAINEES do not receive counsel, paid for by
            the Government.
 3
 4          DHS RFA NO. 18:
            Admit that in CUSTODY REVIEWS conducted in the Central District of
 5          California, transcripts are not routinely maintained or prepared.
 6
            DHS RFA NO. 19:
 7          Admit that in CUSTODY REVIEWS conducted in the Central District of
 8          California, PROLONGED DETAINEES do not receive counsel, paid for by the
            Government.
 9
            B.    PARTIES’ PROPOSALS
10
11          Petitioner continues to seek responses to the RFAs listed above, and the
            Respondents have maintained their objections to responding to them. The
12          parties have not made any counter-proposals with respect to these RFAs.
13          C.    PETITIONERS’ CONTENTIONS
14          On grounds of relevance and nothing else, Respondents refuse to respond to
15   seventeen Requests for Admission that ask simple yes or no questions. The requests
16   ask such straightforward questions as whether Respondents maintain policies or
17   procedures with respect to providing hearings transcripts (DHS RFA Nos. 3-4) and
18   informing detainees of their rights (DHS RFA Nos. 5), whether Respondents comply
19   with procedural protections owed to class members under case law, regulations, and
20   an executive order (DHS RFA Nos. 6-10, 12), and to acknowledge that certain due
21   process protections are not currently in place to protect class members (DHS RFA
22   Nos. 11, 13-19).
23          Respondents suggest that Petitioners “have not explained how these requests
24   are likely to lead to” discoverable information. See infra section III.D.16 Their
25
     16
       Respondents also restate almost verbatim its objections to Petitioner’s requests for
26
     the production of policies and procedures regarding parole determinations, Casas
27   hearings, custody reviews, and Joseph hearings. Supra Section II. To avoid undue
     repetition, Petitioner will not restate why those arguments are unavailing, except to
28                                                                               (Footnote continued)
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 1   relevance is self-evident. Each request bears on the ultimate issue of whether
 2   Respondents have violated and continues to violate the due process rights of class
 3   members by detaining them for long periods of time without adequate procedural
 4   protections. The requests single out specific points in a detention where the
 5   government may or may not provide class members with a particular type of
 6   procedural protection. By doing so, the requests serve the twin goals of “narrowing
 7   the range of issues” in dispute (Asea, Inc. v. Southern Pac. Transp. Co., 669 F.2d
 8   1242, 1245 (9th Cir. 1981)), and “facilitat[ing] proof with respect” to others. In re
 9   Heritage Bond Litig., 220 F.R.D. 624, 625-26 (C.D. Cal. 2004) (quoting Fed. R. Civ.
10   P. 36, Adv. Comm. Notes).
11         Respondents may not want to admit facts that will starkly demonstrate the
12   constitutional infirmity of the prolonged detention of class members. That, however,
13   is not a valid reason for refusing to respond to focused discovery requests relating to
14   its current practices, policies, and procedures. Consequently, the Court should compel
15   Respondents to answer each of the Requests for Admission.
16         D.     RESPONDENTS’ CONTENTIONS
17         Respondents object to Petitioners’ discovery requests because they seek
18   information regarding the hearings and procedures that are wholly irrelevant to this
19   action. Petitioners have not explained how these requests are likely to lead to the
20   production of information that has any bearing on the question of law that lies at the
21   center of this action. An examination of each hearing or proceeding shows that the
22   requested information is corollary to the legal issues presented.
23         First, Petitioners seek a variety of information as it relates to hearings
24   conducted under Matter of Joseph, 22 I. & N. Dec. 799 (BIA 1999). Joseph hearings,
25   and the procedures that implement them, see 8 C.F.R. § 3.19(h)(2)(ii), exist to permit
26
     note that Respondent’s attempts to characterize certain Requests for Production as
27   requiring disclosure of “vast information,” “statistics,” or “outcomes” do not apply to
     the Requests for Admissions.
28
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 1   aliens to test whether they are properly detained in the first instance under section
 2   1226(c). They permit an alien to challenge, for example, whether he fits within one of
 3   the enumerated categories of criminal aliens under section 1226(c)(1)(A) - (D) before
 4   an immigration judge. The Joseph hearing is no more or less than a forum to permit
 5   an alien to challenge the application of the mandatory detention statute to his
 6   detention. It is not an individualized hearing as to flight risk or danger. It is instead
 7   an objective determination by an immigration judge as to whether the crime
 8   underlying the charge of removal falls into one of the categories of offenses under
 9   section 1226(c)(1)(A) through (D) that subjects an alien to detention under section
10   1226(c), as ICE determined in its initial custody determination. It is not an
11   administrative procedure meant to provide adequate procedural safeguards against
12   continued detention – it is a procedural safeguard to determine, at the outset of
13   detention, whether detention is properly qualified under section 1226(c). It is unclear
14   how statistics, data, or other aggregate information about the outcomes of Joseph
15   hearings for any alien, is relevant to the statutory or constitutional issue in this case.
16         Similarly, Petitioners have not identified how parole determination statistics or
17   regulations will be relevant in this action. As noted above, the determination of
18   whether an arriving alien who has not effected an entry into the United States has
19   rights to challenge his detention is not a new question in the history of this nation’s
20   jurisprudence. See, e.g., Alvarez-Garcia v. Ashcroft, 378 F.3d 1094 (9th Cir. 2004).
21   The statutory and constitutional issue of whether an arriving alien detained under
22   section 1225(b) has always been examined in the context of the threshold issue of
23   whether such an alien has any due process rights, or whether those rights are
24   outweighed by the Government’s broad and plenary authority over the admission or
25   exclusion of aliens. See, e.g., Barrera-Echavarria v. Rison, 44 F.3d 1441, 1448 (9th
26   Cir.1995), superseded by statute on other grounds as stated in Xi v. United States INS,
27   298 F.3d 832, 837 (9th Cir. 2002). The availability and frequency of the grant of the
28   discretionary authority of parole is irrelevant to this action.
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 2   implementation, and outcomes of hearings conducted pursuant to Casas-Castrillon v.
 3   Dep’t of Homeland Sec’y, 535 F.3d 942 (9th Cir. 2008). This action preceded the
 4   Ninth Circuit’s decision in Casas-Castrillon, and Petitioners’ inclusion of requests
 5   addressing Casas-Castrillon are inexplicable given the Ninth Circuit’s statement, in
 6   this case, that “[i]f an alien who would otherwise be a member of the class receives a
 7   bond hearing pursuant to Casas-Castrillon or any other ruling they would cease to be
 8   a member of the class.” Rodriguez, 591 F.3d at 1118.
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10   conducted pursuant to 8 C.F.R. § 241.4. Such reviews are available for aliens who
11   have been ordered removed and who are detained pending their removal. 8 C.F.R. §
12   241.4. Again, however, the provision of custody reviews in this action cannot be
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14   case. The issue of whether aliens detained for six months or longer are entitled to
15   constitutional safeguards has been examined under Zadvydas v. Davis, 533 U.S. 678
16   (2001). As the Ninth Circuit has recognized, the issue of the constitutionality of the
17   detention of aliens pursuant to post-final order detention provisions is different from
18   the type of pre-order analysis courts engage in. In Zadvydas, whether an alien may
19   lawfully be detained beyond the presumptively reasonable six-month period depends
20   on whether there is a significant likelihood that the alien will be removed in the
21   reasonably foreseeable future. If so, then the Supreme Court has stated that continued
22   confinement is authorized by section 1231(a)(6), and release after six months is not
23   required. Id. at 702 (“This 6-month presumption, of course, does not mean that every
24   alien not removed must be released after six months. To the contrary, an alien may be
25   held in confinement until it has been determined that there is no significant likelihood
26   of removal in the reasonably foreseeable future.”). In any event, the issue of whether
27   such aliens must be provided with a bond hearing – if not answered by Zadvydas – is
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 1   nevertheless an issue of statutory and constitutional interpretation that does not
 2   depend on a factual analysis of the custody reviews provided to class members.
 3         The requests should be disallowed.
 4
 5
     Dated: April 4, 2011                            s/ Ahilan T. Arulanantham
 6                                                   AHILAN T. ARULANANTHAM
                                                     Counsel for Petitioners
 7
     Dated April 4, 2011                             s/ Theodore Atkinson
 8                                                   THEODORE ATKINSON
                                                     Counsel for Respondents
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